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 1         2.     I also conclude that additional financial or disciplinary sanctions
 2   against the individual attorneys are not warranted. This was a collective
 3   debacle, and is properly resolved without further jeopardy.
 4   RELEVANT PROCEDURAL AND FACTUAL BACKGROUND
 5         Discovery Proceedings Before the Special Master
 6         3.     In January 2025, the Court appointed me as Special Master in
 7   this insurance-related civil action. Central to the reason for my appointment
 8   was an ongoing dispute between the parties regarding the insurer’s assertion
 9   of various privileges in discovery. (Docket # 70, 73.)
10         4.     After handling intervening legal issues, I met with the parties in
11   early April to discuss the insurer’s privilege invocations. The parties provided
12   me with detailed letter briefs regarding the discovery issue in advance of the
13   meeting. When we met, the parties agreed to provide supplemental briefing
14   on a discrete issue regarding the propriety of in camera review of some of the
15   disputed documents.
16         The Briefs with AI Research
17         5.     As recounted in detail in orders I issued on April 15 and 20
18   (attached to the Appendix to this order), Plaintiff’s supplemental brief
19   contained numerous false, inaccurate, and misleading legal citations and
20   quotations. According to my after-the-fact review – and supported by the
21   candid declarations of Plaintiff’s lawyers – approximately nine of the 27 legal
22   citations in the ten-page brief were incorrect in some way. At least two of the
23   authorities cited do not exist at all. Additionally, several quotations
24   attributed to the cited judicial opinions were phony and did not accurately
25   represent those materials.2 The lawyers’ declarations ultimately made clear
26
           2      Some “pincites” were not correctly reported. While this could certainly
27   impede research and review, I consider those errors to be at the mild end of the
28   AI hallucination spectrum.

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 1   that the source of this problem was the inappropriate use of, and reliance on,
 2   AI tools.
 3         6.     Here’s an abbreviated summary of the events. Plaintiff is
 4   represented by a large team of attorneys at two law firms (a lawyer moved
 5   from the Ellis George firm to K&L Gates during the course of the state court
 6   litigation underlying the insurance coverage action; the representation in the
 7   present case is shared between the two firms). 3 The lawyers admit that
 8   Mr. Copeland, an attorney at Ellis George, used various AI tools to generate
 9   an “outline” for the supplemental brief. That document contained the
10   problematic legal research.
11         7.     Mr. Copeland sent the outline to lawyers at K&L Gates. They
12   incorporated the material into the brief. No attorney or staff member at
13   either firm apparently cite-checked or otherwise reviewed that research before
14   filing the brief with the Special Master. Based on the sworn statements of all
15   involved (which I have no reason to doubt), the attorneys at K&L Gates didn’t
16   know that Mr. Copeland used AI to prepare the outline; nor did they ask him.
17         8.     A further wrinkle. During my initial review of Plaintiff’s brief, I
18   was unable to confirm the accuracy of two of the authorities that the lawyers
19   cited. I emailed the lawyers shortly after receiving the brief to have them
20   address this anomaly. Later that day, K&L Gates re-submitted the brief
21   without the two incorrect citations – but with the remaining AI-generated
22   problems in the body of the text. 4 An associate attorney sent me an innocuous
23
           3      Although it’s necessary to identify some parties involved here, I decline
24   to name-and-shame all of the lawyers in this order. They know who they are, and
     don’t need further notoriety here.
25
           4       Copies of the Original Brief and the Revised Brief (identified as
26   Versions 1 and 3 in my initial OSC) are attached in the Appendix. I’ve marked the
     bogus citations in both briefs in red. I noted that there was an intervening iteration
27   of the brief submitted to me that contained the bogus AI research and an odd
28                                                                             (continued. . .)

                                                 3
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 1   e-mail thanking me for catching the two errors that were “inadvertently
 2   included” in the brief, and confirming that the citations in the Revised Brief
 3   had been “addressed and updated.”
 4         9.     I didn’t discover that Plaintiff’s lawyers used AI – and
 5   re-submitted the brief with considerably more made-up citations and
 6   quotations beyond the two initial errors – until I issued a later OSC soliciting
 7   a more detailed explanation. The lawyers’ sworn statements and subsequent
 8   submission of the actual AI-generated “outline” made clear the series of events
 9   that led to the false filings. The declarations also included profuse apologies
10   and honest admissions of fault.
11         10.    I subsequently set the matter for a hearing on the OSC. My
12   April 20 order gave the parties notice of the specific types of sanctions and fee-
13   shifting awards that I was considering based on Federal Rule of Civil
14   Procedure 11 and 37, along with my inherent (and Court-delegated) authority.
15   Plaintiff’s lawyers responded to the OSC and addressed me during our recent
16   hearing. I also received a submission from the defense estimating the cost of
17   the preparation of their brief on the privilege issue. This order follows.
18   RELEVANT LEGAL AUTHORITY
19         11.    The district court’s order appointing me as Special Master
20   authorized me to “take all appropriate measures to perform the assigned
21   duties fairly and efficiently.” I possess the Court’s authority to “regulate all
22   proceedings” before me pursuant to the Federal Rules of Civil Procedure. This
23   expressly includes the ability to impose “any noncontempt sanction provided
24   by Rule 37” or other authority. (Docket # 70.)
25
26
     typographical error in one of the challenged citations. I don’t understand the
27   significance of that additional submission, but I don’t believe that it adds much to
28   the sanctions analysis.

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 1         12.    Rule 11(b) states, in relevant part, that when an attorney presents
 2   “a pleading, written motion, or other paper” to a court, the attorney “certifies
 3   that to the best of that person’s knowledge, information, and belief, formed
 4   after an inquiry reasonable under the circumstances [that the] legal
 5   contentions are warranted by existing law.” Rule 11(c)(3-4) states that a court
 6   may impose a sanction “limited to what suffices to deter repetition of the
 7   conduct or comparable conduct by others similarly situated.” That may
 8   include “nonmonetary directives” or “an order directing payment [ ] of part or
 9   all of the reasonable attorney’s fees and other expenses directly resulting from
10   the violation.”
11         13.    Rule 37(a)(5)(B) states that a court “must, after giving an
12   opportunity to be heard, require [ ] the attorney filing [an unsuccessful
13   discovery] motion [ ] to pay the party or deponent who opposed the motion its
14   reasonable expenses incurred in opposing the motion, including attorney's
15   fees.” Litigation-related sanctions (for disobeying a court’s discovery order,
16   but generally applicable to other circumstances) may include prohibiting a
17   party from “supporting or opposing designated claims or defenses” or “striking
18   pleadings in whole or in part.” Fed. R. Civ. 37(b)(2)(A)(ii-iii).
19         14.    Separate and apart from sanctions based on these rules, a court
20   has the inherent authority to levy sanctions against a party or attorney for,
21   inter alia, acting in “bad faith” or for otherwise “willfully abus[ing] judicial
22   processes.” Roadway Express, Inc. v. Piper, 447 U.S. 752, 766 (1980).
23   Sanctions based on a federal court’s inherent authority are “both broader and
24   narrower than other means of imposing sanctions” because they encompass
25   “a full range of litigation abuses.” Chambers v. NASCO, Inc., 501 U.S. 32, 46-
26   47 (1991).
27
28

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 1         15.   The Ninth Circuit has concluded that such sanctions “are
 2   available if the court specifically finds bad faith or conduct tantamount to
 3   bad faith” by an attorney. Fink v. Gomez, 239 F.3d 989, 994 (9th Cir. 2001);
 4   Rocha v. Fiedler, 2025 WL 1219007 at *1 (9th Cir. Apr. 28, 2025) (same
 5   standard under Fed. R. Bankr. P. 9011); Arrowhead Capital Finance, Ltd. v.
 6   Picturepro, LLC, 2023 WL 109722 at *2 (9th Cir. Jan. 5, 2023) (same;
 7   affirming discovery sanction award). The “tantamount to bad faith” standard
 8   includes “a variety of types of willful actions, including recklessness when
 9   combined with an additional factor such as frivolousness, harassment, or an
10   improper purpose.” Fink, 239 F.3d at 994.
11         16.   With greater frequency, courts are now regularly evaluating the
12   conduct of lawyers and pro se litigants who improperly use AI in submissions
13   to judges. Whether that conduct supports the imposition of various types of
14   sanctions requires a fact- and circumstance-specific analysis. See, e.g., United
15   States v. Hayes, ___ F.Supp.3d ___, 2025 WL 235531 at *10-15 (E.D. Cal.
16   Jan 17, 2025) (sanctioning criminal defense lawyer for using AI; when
17   questioned by the court, the lawyer’s response about the source of inaccurate
18   legal citations “was not accurate and was misleading”); Saxena v. Martinez-
19   Hernandez, 2025 WL 1194003 at *2 and n.5 (D. Nev. April 23, 2025)
20   (“Saxena’s use of AI generated cases – and his subsequent refusal to accept
21   responsibility for doing so – is just another example of Saxena’s abusive
22   litigation tactics, and further explains why the court issued case-terminating
23   sanctions”) (collecting cases); United States v. Cohen, 724 F.Supp.3d 251, 254,
24   259 (S.D.N.Y 2024) (declining to find bad faith where defense lawyer
25   voluntarily disclosed that she “had been ‘unable to verify’” false citations in
26   colleague’s brief and lawyer acknowledged that he “would have withdrawn the
27   [fake] citations immediately if given the opportunity”).
28

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 1   ANALYSIS
 2         17.   I conclude that the lawyers involved in filing the Original and
 3   Revised Briefs collectively acted in a manner that was tantamount to bad
 4   faith. Fink, 239 F.3d at 994. The initial, undisclosed use of AI products to
 5   generate the first draft of the brief was flat-out wrong. Even with recent
 6   advances, no reasonably competent attorney should out-source research and
 7   writing to this technology – particularly without any attempt to verify the
 8   accuracy of that material. And sending that material to other lawyers without
 9   disclosing its sketchy AI origins realistically put those professionals in harm’s
10   way. Mr. Copeland candidly admitted that this is what happened, and is
11   unreservedly remorseful about it.
12         18.   Yet, the conduct of the lawyers at K&L Gates is also deeply
13   troubling. They failed to check the validity of the research sent to them. As a
14   result, the fake information found its way into the Original Brief that I read.
15   That’s bad. But, when I contacted them and let them know about my concerns
16   regarding a portion of their research, the lawyers’ solution was to excise the
17   phony material and submit the Revised Brief – still containing a half-dozen AI
18   errors. Further, even though the lawyers were on notice of a significant
19   problem with the legal research (as flagged by the brief’s recipient: the Special
20   Master), there was no disclosure to me about the use of AI. Instead, the
21   e-mail transmitting the new brief merely suggested an inadvertent production
22   error, not improper reliance on technology. Translation: they had the
23   information and the chance to fix this problem, but didn’t take it. Cohen,
24   724 F.Supp.3d at 259.
25         19.   I therefore conclude that (a) the initial undisclosed use of AI,
26   (b) the failure to cite-check the Original Brief, and (perhaps most egregiously),
27   (c) the re-submission of the defective Revised Brief without adequate
28

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 1   disclosure of the use of AI, taken together, demonstrate reckless conduct with
 2   the improper purpose of trying to influence my analysis of the disputed
 3   privilege issues. The Ellis George and K&L Gates firms had adequate
 4   opportunities – before and after their error had been brought to their
 5   attention – to stop this from happening. Their failure to do so justifies
 6   measured sanctions under these circumstances.
 7         20.   Those sanctions are as follows. I have struck, and decline to
 8   consider, any of the supplemental briefs that Plaintiff submitted on the
 9   privilege issue. From this, I decline to award any of the discovery relief
10   (augmenting a privilege log, ordering production of materials, or requiring
11   in camera review of items) that Plaintiff sought in the proceedings that led up
12   to the bogus briefs. I conclude that these non-monetary sanctions will suffice
13   to “deter repetition of the conduct or comparable conduct by others similarly
14   situated.” Fed. R. Civ. P. 11(c)(4). If the undisclosed use of AI and the
15   submission of fake law causes a client to lose a motion or case, lawyers will
16   undoubtedly be deterred from going down that pointless route. 5
17         21.   The district judge’s order appointing me initially required
18   Defendant to pay the costs of the Special Master. However, that order
19   expressly authorized me to shift fees when I deemed appropriate.
20   (Docket # 70 at ¶ 7.) It’s certainly appropriate here. I’ve calculated that the
21   fees for dealing with this issue (reviewing the various iterations of the
22   defective briefs, issuing various orders and reviewing the responses,
23   conducting the OSC hearing, and issuing this sanctions order) were
24   approximately $26,100 (including service fees from the provider). Because
25
           5       At our recent hearing, Mr. Copeland movingly asserted that neither he
26   nor his colleagues would engage in similar conduct in the future; exposure of these
     events was therefore sufficient to deter them from doing this again. I completely
27   agree. But under the Rule, I also have to consider the goal of deterring other
28   members of the legal community. In my estimation, more is required.

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 1   Defendant advanced those fees to JAMS, Ellis George and K&L Gates are
 2   jointly and severally directed to pay that sum to the defense in reimbursement
 3   within 30 days.
 4         22.       I also gave serious consideration to ordering Plaintiff’s lawyers to
 5   compensate the defense for time that Defendant’s lawyers spent on their
 6   supplemental brief. A shift of fees to the winning party in a discovery motion
 7   is authorized and commonplace under Federal Rule of Civil
 8   Procedure 37(a)(5), and falls well within the inherent authority of the court to
 9   deter this conduct by others in the future. I also easily conclude that
10   Plaintiff’s lawyers were not “substantially justified” in using false information
11   in advancing their legal positions on the privilege issue. (Fed. R. Civ. P.
12   37(a)(5)(B).)
13         23.       However, the amount of fees that the defense attested to (at my
14   request, not theirs) for preparing the brief and attending the recent hearing
15   approached $25,000. I don’t have any reason to dispute that sum, but I don’t
16   believe that full compensation for the briefing process – one that the defense
17   somewhat eagerly agreed to – isn’t necessary for deterrence purposes. In an
18   exercise of discretion, I direct Plaintiff’s lawyers to pay the defense a total of
19   $5,000 for fees incurred here.6
20         24.       My sanction notice informed the parties that I planned to order
21   the lawyers to inform Plaintiff personally about the substance and outcome of
22
23         6       I note, but don’t ascribe any weight to, Plaintiff’s argument that
     Defendant wasn’t prejudiced by the AI debacle because the parties submitted their
24   briefs at the same time. Given the deterrence-based motivation of this sanction
     order, the serendipity of simultaneous v. sequential briefing is of limited relevance to
25   my consideration of this point.
26                  I’m also not swayed by the observation (in my original OSC, and echoed
     in Plaintiff’s response brief) that, as it turned out, the AI hallucinations weren’t too
27   far off the mark in their recitations of the substantive law. That’s a pretty weak
28   no-harm, no-foul defense of the conduct here.

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 1   this issue. The lawyers told me at the hearing that they already disclosed this
 2   information to their client; that’s sufficient for me. I recognize that
 3   Mrs. Lacey is clearly not at fault for the AI debacle, but will bear this outcome
 4   as a consequence of her lawyers’ actions. She will not, however, be financially
 5   responsible for the monetary awards described in this order. Those will fall
 6   solely on the lawyers and their firms.
 7         25.   In a further exercise of discretion, I decline to order any sanction
 8   or penalty against any of the individual lawyers involved here. In their
 9   declarations and during our recent hearing, their admissions of responsibility
10   have been full, fair, and sincere. I also accept their real and profuse apologies.
11   Justice would not be served by piling on them for their mistakes.
12   CONCLUSION
13         A final note. Directly put, Plaintiff’s use of AI affirmatively misled me.
14   I read their brief, was persuaded (or at least intrigued) by the authorities that
15   they cited, and looked up the decisions to learn more about them – only to find
16   that they didn’t exist. That’s scary. It almost led to the scarier outcome (from
17   my perspective) of including those bogus materials in a judicial order. Strong
18   deterrence is needed to make sure that attorneys don’t succumb to this easy
19   shortcut.
20         For these reasons, Plaintiff’s supplemental briefs are struck, and no
21   further discovery relief will be granted on the disputed privilege issue.
22   Additionally, Plaintiff’s law firms are ordered (jointly and severally) to pay
23   compensation to the defense in the aggregate amount of $31,100.
24
25   Dated: May 5, 2025                         /s/ Judge Wilner
26                                      _______________________________________
                                        HON. MICHAEL R. WILNER
27                                      U.S. MAGISTRATE JUDGE (RET.)
                                        SPECIAL MASTER
28

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 1                           APPENDIX OF MATERIALS

 2
 3         1.    Special Master’s Order to Show Cause re: Sanctions (April 15,
     2025).
 4
           2.     Special Master’s Notice of Intended Sanctions and Fee Orders
 5
     (April 20, 2025).
 6
           3.    Plaintiff’s Brief in Support of Obtaining Relevant, Non-Privileged
 7   Documents from Defendant (Original Brief, as marked by Special Master) (filed
 8   April 14, 2025).

 9         4.    Plaintiff’s Brief in Support of Obtaining Relevant, Non-Privileged
     Documents from Defendant (Revised Brief, as marked by Special Master) (filed
10
     April 14, 2025).
11
           5.    E-mail transmitting Revised Brief to Special Master (April 14,
12   2025).
13          6.    Declaration of Trent Copeland (filed April 18, 2025) plus a version
14   of the AI outline sent to K&L Gates (referenced in declaration, received
     separately).
15
           7.    Declaration of Ryan Keech (filed April 18, 2025).
16
17         8.    Declaration of Keian Vahedy (filed April 18, 2025).

18        9.    Plaintiff’s Response to Special Master’s Notice of Intended
19   Sanctions and Fee Orders.

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                      JAMS CASE REFERENCE NO. 1210040394

                 USDC CASE NO. CV 24-5205 FMO (MAAx) (C.D. Cal.)


 Jacqueline “Jackie” Lacey, et al.,

        Plaintiff,

               v.

 State Farm General Insurance Co.,

       Defendant.
 ______________________________________________


                     ORDER TO SHOW CAUSE RE: SANCTIONS

        1.      The district court appointed me as Special Master in this action in
 January 2025. (Docket # 70, 71.) The Court’s appointment order specifically
 authorized me to “impose on a party any noncontempt sanction provided by Rule 37
 or 45, and may recommend [to the district court] a contempt sanction against a
 party and sanctions against a nonparty.” (Docket # 70 at ¶ 3 (quoting Fed. R. Civ.
 P. 53(c)(2)).)

       2.     Plaintiff’s lawyers are ordered to show cause why the Special Master
 should not impose sanctions based on the following:

       3.     Version 1 of Plaintiff’s supplemental brief. I conducted a hearing on a
 discovery issue on April 7, 2025. During that hearing, I directed the parties to
 submit supplemental briefing on a disputed privilege issue.

       4.   I received Plaintiff’s supplemental brief (Version 1) at approximately
 noon on Monday, April 14.1 During my review of Version 1 of Plaintiff’s brief, I
 went onto Westlaw to read several of the judicial decisions cited or quoted in the
 pleading.

        5.     The problem: I couldn’t verify aspects of what Plaintiff’s lawyers put
 into the brief. Specifically, Plaintiff’s lawyers included what they presented as a
 lengthy quotation from a decision (National Steel Products) that appeared to


        1       I also received a supplemental brief from Defendant. That submission is not
 relevant to this OSC.
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 strongly support their position on the privilege issue. The passage from Version 1 is
 reproduced in full:

               Rather, these internal notes reference the adjusters’
               recommendations, pending activities, and discussion with other
               State Farm claims representatives regarding the Lacey’s
               insurance claim. National Steel Products Co. v. Superior Court,
               164 Cal.App.3d 476, 489 (1985) (“Internal memoranda or claims
               file materials, although they may discuss legal theories,
               litigation tactics or potential liability, are not privileged unless
               they are written by or at the direction of counsel and prepared
               for the purpose of transmitting information to counsel for legal
               advice.”)

 Version 1 at 7.

      6.     I reviewed the online version of the appellate decision in National Steel
 Products. The text quoted in Plaintiff’s brief does not exist in that opinion.

        7.   Additionally, Plaintiff’s lawyers cited to another judicial decision that,
 again, appeared to strongly support their litigation position:

               California courts are especially skeptical of overbroad privilege
               assertions in bad faith insurance litigation, where the insurer’s
               claims conduct is directly at issue. See, Booth v. Allstate Ins.
               Co., 198 Cal.App.3d 1357, 1366 (1989) (“An insurer cannot
               assert privilege to shield evidence of bad faith.”)

 Version 1 at 10.

        8.     I was unable to locate this judicial decision online. I tried inputting
 the citation that Plaintiff provided. I also searched for it using the case caption in
 the brief.2 The decision does not appear to exist.

        9.    I sent an e-mail to the lawyers via JAMS Access later that day. My
 e-mail (sent at around 4 pm PT on April 14) was primarily intended to set up
 another hearing on the discovery issue. Additionally, I asked Plaintiff’s lawyers to
 check the accuracy of the National Steel Products and Booth citations. I expressly
 told the lawyers that I was unable to locate the items as stated in their brief.




        2       I used a Boolean search (ti(booth and allstate))in the California and
 9th Circuit jurisdictional databases on Westlaw. No result found.

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        10.    Version 2. At roughly the same time, Plaintiff’s lawyers filed an
 amended version of their supplemental brief (Version 2). An e-mail from an
 administrative assistant at the Ellis George firm informed me that the only change
 to Version 2 of the brief was “cosmetic to correct the placement of the screenshots”
 of certain disputed documents that were copied in the filing.

        11.    Despite that statement, there was a curious change to the National
 Steel Products parenthetical quotation. The purported text from the decision was
 fundamentally the same. However, the end of the quotation had garbled typing
 added to it: “[ ] prepared for the purpose of transmitting information Page dfsadffor
 legal advice.” Version 2 at 7 (emphasis added). The Booth citation was unmodified.

        12.   Version 3. Plaintiff’s lawyers filed a third version of the supplemental
 brief with JAMS at approximately 6 pm PT that same day (Version 3). Version 3
 did not contain the quoted language from the National Steel Products decision as
 quoted above. Instead, it contained a parenthetical summation with the same
 internal pin cite. The parenthetical read: “(Privilege is strictly construed because it
 suppresses relevant facts which may be necessary for a just decision.)” Version 3
 at 7.

       13.    My review of the National Steel Products opinion showed that this
 language actually was a direct quotation from the text of the appellate decision.
 However, it appears in a different portion of the decision (Cal. App. edition page
 483, not page 489) than as cited in the brief.

        14.     The reference to the Booth decision was omitted from Version 3 of the
 brief. Instead, the same sentence of the brief (“California courts are especially
 skeptical. . .”) is supported by a different citation.3 Version 3 at 10.

       15.   I also received an e-mail from Mr. Vahedy, an associate at the K&L
 Gates firm. That e-mail stated that the Version 3 brief:

               addresses the issues raised in [my] 4:06 pm e-mail. Specifically,
               references to National and Booth were inadvertently included
               prior to filing. These cites have since been addressed and
               updated within our respective papers.

        16.    OSC. I’m not satisfied by that explanation. Based on the materials I
 reviewed on Monday, Plaintiff’s lawyers may have presented falsified research on
 an issue of such significance (the dispute over privilege assertions) that it led to my

        3       That decision – State Farm Mutual Auto Ins. Co. v. Lee, 13 P.3d 1169, 1183
 (Ariz. 2000) – is a ruling of the Arizona Supreme Court that may (in part) have relied on
 California law.

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 appointment as Special Master. I’m also concerned that a brief (Version 2) that
 allegedly was amended for “cosmetic” reasons contained a bizarre modification in
 one of the problematic sections.

       17.    Therefore, Plaintiff’s lawyers are ordered to show cause why I should
 not impose sanctions (or recommend that the district judge impose sanctions) on
 them for this conduct. Plaintiff’s lawyers may discharge this OSC by filing a sworn
 declaration attesting in adequate detail about the circumstances by which the
 erroneous National Steel Products and Booth materials made their way into
 Versions 1 and 2 of the brief. I specifically want to know which lawyers / staff
 members at the firms representing Plaintiff were responsible for this conduct. I
 also want a statement from a competent lawyer explaining whether or not any AI
 product was utilized in the preparation of the brief.

        18.    I also will require Mr. Copeland or Mr. Keech to personally review
 every citation and quotation in Version 1 of the brief. One of these lawyers will
 attest to the accuracy of those materials or inform me of any other problems in the
 supplemental brief that I didn’t catch.

        19.   Plaintiff’s lawyers will file these declarations with me via JAMS Access
 by or before noon on Friday, April 18. Note that, until I resolve this issue, neither
 this order nor the declarations of counsel should be filed on the federal court docket.
 Consistent with paragraph 7 of the appointment order, the parties are informed
 that I may consider cost-shifting of my fees regarding this situation.


 Dated: April 15, 2025                                /s/ Judge Wilner
                                                _____________________________
                                                Hon. Michael R. Wilner (Ret.)
                                                Special Master




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 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


             127,&( 2) ,17(1'(' 6$1&7,216 $1' )(( 25'(56
                              )5&3  

             7KH GLVWULFW FRXUW·V RUGHU DSSRLQWLQJ PH DV 6SHFLDO 0DVWHU DXWKRUL]HV
 PH WR ´WDNH DOO DSSURSULDWH PHDVXUHV WR SHUIRUP WKH DVVLJQHG GXWLHV IDLUO\ DQG
 HIILFLHQWO\µ , SRVVHVV WKH &RXUW·V DXWKRULW\ WR ´UHJXODWH DOO SURFHHGLQJVµ EHIRUH PH
 SXUVXDQW WR WKH )HGHUDO 5XOHV RI &LYLO 3URFHGXUH 7KLV LQFOXGHV WKH DELOLW\ WR
 LPSRVH ´DQ\ QRQFRQWHPSW VDQFWLRQ SURYLGHG E\ 5XOH µ RU RWKHU DXWKRULW\
  'RFNHW  



            7KH FDQGLG GHFODUDWLRQV UHFHLYHG IURP 3ODLQWLII·V ODZ\HUV LQ UHFHQW
 GD\V UHYHDO WKUHH XQFRQWHVWDEOH FRQFOXVLRQV DERXW WKHLU UHFHQW OHJDO VXEPLVVLRQV

              D      0U &RSHODQG XVHG VHYHUDO $, WRROV WR RXWOLQH 3ODLQWLII·V
                      VXSSOHPHQWDO EULHI RQ WKH GLVSXWHG SULYLOHJH LVVXHV 7KRVH WRROV
                      UHVXOWHG LQ WKH XVH RI IDNH RU LQDFFXUDWH OHJDO DXWKRULWLHV LQ WKDW
                      EULHI

              E      1HLWKHU WKH (OOLV *HRUJH QRU WKH . / *DWHV ODZ ILUPV SURSHUO\
                      FKHFNHG WKH OHJLWLPDF\ RI WKRVH DXWKRULWLHV EHIRUH ILOLQJ WKH EULHI
                      RQ WKH &RXUW·V GRFNHW RU ZLWK PH

              F      7KH VFRSH RI WKH LQDFFXUDWH DXWKRULWLHV ZDV FRQVLGHUDEO\ KLJKHU
                      WKDQ WKDW GHVFULEHG LQ P\ $SULO  26& RUGHU 7KH GHFODUDWLRQV
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                       RI 3ODLQWLII·V ODZ\HUV LGHQWLILHG QLQH SUREOHPDWLF FLWDWLRQV RXW RI
                       DSSUR[LPDWHO\  FLWHG DXWKRULWLHV LQ WKH EULHI  LQFOXGLQJ D
                       UHIHUHQFH WR D VHFRQG QRQH[LVWHQW MXGLFLDO GHFLVLRQ 'DYLV 

             , DFFHSW WKH VLQFHULW\ RI WKH DSRORJLHV LQ WKH ODZ\HU·V GHFODUDWLRQV
 UHJDUGLQJ WKLV FRQGXFW , DOVR DFFHSW 0U &RSHODQG·V DGPLVVLRQ RI UHVSRQVLELOLW\ IRU
 LQLWLDWLQJ WKLV DIIDLU )XUWKHU , QRWH WKH FRQWHQWLRQV LQ WKH ODZ\HUV· VXEPLVVLRQV
 WKDW DOWKRXJK WKH\ SUHVHQWHG IDOVH OHJDO DXWKRULWLHV WR PH WKH EDVLF SULQFLSOHV
 DGYDQFHG LQ WKH EULHI D SULYLOHJH DVVHUWLRQ FDQQRW EH XVHG DV D VZRUG DQG D VKLHOG
 HWF DUH OLNHO\ OHJLWLPDWH

             1HYHUWKHOHVV MXVWLFH UHTXLUHV D VZLIW FHUWDLQ DQG PHDVXUHG UHVSRQVH
 ,W·V VLPSO\ XQIDWKRPDEOH IRU PH WR FRQVLGHU WKDW DWWRUQH\V RI WKLV FDOLEHU ZRXOG
 EOLWKHO\ RXWVRXUFH WKHLU OHJDO UHVHDUFK LQ VXFK D KDSKD]DUG DQG DPDWHXULVK
 PDQQHU 7KH ERJXV ILOLQJ FDXVHG PH WR KDYH FRQVLGHUDEOH GRXEWV DERXW WKH
 DFFXUDF\ RI DOO RI IDFWXDO DQG OHJDO FRQWHQWLRQV WKDW 3ODLQWLII·V ODZ\HUV DGYDQFHG LQ
 WKLV DFWLRQ ² ZKHWKHU DWWULEXWDEOH WR DQ $, IRXOXS RU QRW

            )XUWKHU WKH ODZ\HUV· DFWLRQV UHVXOWHG LQ UHDO H[SHQVHV WR 'HIHQGDQW
 7KH UHDVRQ IRU WKH VXSSOHPHQWDO EULHILQJ ZDV EHFDXVH RI 3ODLQWLII·V UHTXHVW WKDW
 , RUGHU SURGXFWLRQ RI DGGLWLRQDO PDWHULDOV IURP WKH GHIHQVH D UHYLVHG SULYLOHJH ORJ
 DQG SRWHQWLDOO\ LQ FDPHUD UHYLHZ RI WKRVH GRFXPHQWV 7KDW UHTXHVW LQ WXUQ FDXVHG
 'HIHQGDQW D WR LQFXU DWWRUQH\·V IHHV LQ SUHSDULQJ WKH GHIHQVH VXSSOHPHQWDO EULHI
 DQG E WR EHDU WKH VSHFLDO PDVWHU·V IHHV IRU WKRVH SURFHHGLQJV SXUVXDQW WR WKH
 RULJLQDO DSSRLQWPHQW RUGHU




            7KHUHIRUH FRQVLVWHQW ZLWK WKH SURYLVLRQV RI )HGHUDO 5XOHV RI &LYLO
 3URFHGXUH  DQG  DQG WKH &RXUW·V DSSRLQWPHQW RUGHU , SURYLGH QRWLFH WKDW , DP
 OLNHO\ WR LPSRVH WKH IROORZLQJ QRQPRQHWDU\ VDQFWLRQV DQG IHH VKLIWLQJ DZDUGV

               5XOH  E VWDWHV LQ UHOHYDQW SDUW WKDW ZKHQ DQ DWWRUQH\ SUHVHQWV ´D
 SOHDGLQJ ZULWWHQ PRWLRQ RU RWKHU SDSHUµ WR D FRXUW WKH DWWRUQH\ ´FHUWLILHV WKDW WR WKH EHVW
 RI WKDW SHUVRQ·V NQRZOHGJH LQIRUPDWLRQ DQG EHOLHI IRUPHG DIWHU DQ LQTXLU\ UHDVRQDEOH
 XQGHU WKH FLUFXPVWDQFHV >WKDW WKH@ OHJDO FRQWHQWLRQV DUH ZDUUDQWHG E\ H[LVWLQJ ODZµ
 5XOH  F  VWDWHV WKDW D FRXUW PD\ LPSRVH D VDQFWLRQ ´OLPLWHG WR ZKDW VXIILFHV WR GHWHU
 UHSHWLWLRQ RI WKH FRQGXFW RU FRPSDUDEOH FRQGXFW E\ RWKHUV VLPLODUO\ VLWXDWHGµ 7KDW PD\
 LQFOXGH ´QRQPRQHWDU\ GLUHFWLYHVµ RU ´DQ RUGHU GLUHFWLQJ SD\PHQW > @ RI SDUW RU DOO RI WKH
 UHDVRQDEOH DWWRUQH\·V IHHV DQG RWKHU H[SHQVHV GLUHFWO\ UHVXOWLQJ IURP WKH YLRODWLRQµ

              5XOH  D  % VWDWHV WKDW D FRXUW ´PXVW DIWHU JLYLQJ DQ RSSRUWXQLW\ WR EH
 KHDUG UHTXLUH > @ WKH DWWRUQH\ ILOLQJ >DQ XQVXFFHVVIXO GLVFRYHU\@ PRWLRQ > @ WR SD\ WKH SDUW\
 RU GHSRQHQW ZKR RSSRVHG WKH PRWLRQ LWV UHDVRQDEOH H[SHQVHV LQFXUUHG LQ RSSRVLQJ WKH
 PRWLRQ LQFOXGLQJ DWWRUQH\ V IHHVµ /LWLJDWLRQUHODWHG VDQFWLRQV IRU GLVREH\LQJ D FRXUW·V

                                                
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               D     6WULNLQJ DOO WKUHH YHUVLRQV RI 3ODLQWLII·V VXSSOHPHQWDO EULHI ILOHG
                      RQ $SULO  

               E     'HQ\LQJ ² RQ WKH PHULWV DQG IRU ODFN RI VXSSRUW ² 3ODLQWLII·V
                      UHTXHVW IRU DGGLWLRQDO GLVFRYHU\ UHOLHI DV VHW IRUWK LQ WKH
                      3ODLQWLII·V OHWWHU RI $SULO  

               F     2UGHULQJ WKH (OOLV *HRUJH DQG . / *DWHV ILUPV MRLQWO\ DQG
                      VHYHUDOO\ WR SD\ UHDVRQDEOH DWWRUQH\·V IHHV WKDW 'HIHQGDQW
                      LQFXUUHG LQ WKH SUHSDUDWLRQ DQG ILOLQJ RI LWV VXSSOHPHQWDO EULHI
                       ILOHG $SULO  

               G     2UGHULQJ WKH (OOLV *HRUJH DQG . / *DWHV ILUPV MRLQWO\ DQG
                      VHYHUDOO\ WR SD\ WKH VSHFLDO PDVWHU IHHV LQFXUUHG WKDW UHODWH WR
                      WKH UHFHLSW RI WKH ERJXV EULHIV DQG WKH 26& SURFHHGLQJV

               H     5HTXLULQJ 0U &RSHODQG WR FRPPXQLFDWH LQ ZULWLQJ WR 0V /DFH\
                      DERXW WKH VXEVWDQFH DQG RXWFRPH RI WKHVH SURFHHGLQJV

             'HIHQVH FRXQVHO DUH GLUHFWHG WR ILOH D VKRUW GHFODUDWLRQ ZLWK -$06
 OLVWLQJ WKH IHHV FKDUJHG WR WKHLU FOLHQW DV GLVFXVVHG LQ  F DERYH 3OHDVH VXEPLW
 WKDW E\ QRRQ RQ $SULO  ,·OO VHSDUDWHO\ JHW D URXJK FDOFXODWLRQ RI WKH VSHFLDO
 PDVWHU IHHV SHU  G

              3XUVXDQW WR )HGHUDO 5XOHV RI &LYLO 3URFHGXUH  F  DQG  D  % 
 3ODLQWLII DQG KHU ODZ\HUV ZLOO KDYH WKH RSSRUWXQLW\ WR UHVSRQG WR WKLV QRWLFH 7KDW
 UHVSRQVH 17( ILYH SDJHV ² QR $, WR EH XVHG  LI DQ\ ZLOO EH GXH E\  SP RQ )ULGD\
 $SULO  ,·OO VHW WKH PDWWHU IRU D YLGHR KHDULQJ RQ 7XHVGD\ $SULO   DW 
 DP 37 

            ,I 3ODLQWLII·V ODZ\HUV GR QRW LQWHQG WR FKDOOHQJH WKLV WHQWDWLYH RXWFRPH
 WKH\ PD\ SURPSWO\ LQIRUP P\ FDVH PDQDJHU ,·OO UHOLHYH WKHP RI WKH ILOLQJ
 REOLJDWLRQ DQG ZLOO YDFDWH WKH YLGHR KHDULQJ

 GLVFRYHU\ RUGHU EXW JHQHUDOO\ DSSOLFDEOH WR RWKHU FLUFXPVWDQFHV PD\ LQFOXGH SURKLELWLQJ D
 SDUW\ IURP ´VXSSRUWLQJ RU RSSRVLQJ GHVLJQDWHG FODLPV RU GHIHQVHVµ RU ´VWULNLQJ SOHDGLQJV LQ
 ZKROH RU LQ SDUWµ )HG 5 &LY  E  $ LLLLL 

              , QRWH WKDW , KDYH ORQJ EHHQ RI WKH RSLQLRQ WKDW D IHH DZDUG XQGHU 5XOH 
 VKRXOG QRW EH FRQVLGHUHG D SHUVRQDO VDQFWLRQ RQ DQ DWWRUQH\ WKDW LV SRWHQWLDOO\ UHSRUWDEOH WR
 WKH 6WDWH %DU RI &DOLIRUQLD SXUVXDQW WR %XVLQHVV DQG 3URIHVVLRQV &RGH VHFWLRQ  R  
 &I 0HGLQD Y 8QLWHG 3DUFHO 6HUYLFH 1R & -: 397  :/  1' &DO
  VWDWH VWDWXWH ´H[HPSWVµ GLVFRYHU\UHODWHG SURFHHGLQJV IURP VHOIUHSRUWLQJ REOLJDWLRQ 


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           7KH SDUWLHV DUH LQIRUPHG WKDW , SHUVRQDOO\ DGYLVHG 'LVWULFW -XGJH
 2OJXLQ RQ $SULO  DERXW WKH QDWXUH RI WKHVH SURFHHGLQJV DQG WKH VXEVWDQFH RI WKH
 ODZ\HUV· GHFODUDWLRQV 'RFNHW   DW  



 'DWHG $SULO                                V -XGJH :LOQHU
                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                              +RQ 0LFKDHO 5 :LOQHU 5HW
                                              6SHFLDO 0DVWHU




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 13   of the D and J Lacey Family Trust)
 14                         UNITED STATES DISTRICT COURT
 15                       CENTRAL DISTRICT OF CALIFORNIA
 16   JACQUELYN “JACKIE” LACEY, in                   Case No. 2:24-cv-05205-FMO-MAA
      her individual capacity; and
 17   JACQUELYN “JACKIE” LACEY as                    Judge: Hon. Fernando M. Olguin
      trustee of the D and J Lacey Family
 18   Trust dated November 23, 2016,                 PLAINTIFF JACQUELYN
                                                     “JACKIE” LACEY’S BRIEF IN
 19                    Plaintiff,                    SUPPORT OF OBTAINING
                                                     RELEVANT, NON-PRIVILEGED
 20            v.                                    DOCUMENTS FROM
                                                     DEFENDANT STATE FARM
 21   STATE FARM GENERAL                             GENERAL INSURANCE
      INSURANCE COMPANY, an Illinois                 COMPANY
 22   corporation, and DOES 1-50, inclusive,
 23                    Defendant.
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            PLAINTIFF’S BRIEF IN SUPPORT OF OBTAINING RELEVANT, NON-PRIVILEGED DOCUMENTS
                       FROM DEFENDANT STATE FARM GENERAL INSURANCE COMPANY
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  1            Pursuant to the Special Master’s instructions on April 7, 2025, Plaintiff
  2   Jacquelyn Lacey, individually, and as trustee of the D and J. Lacey Family Trust
  3   Dated November 23, 2016 (“Plaintiff”) submits this brief to further address defendant
  4   State Farm General Insurance Company’s (“State Farm”) unjustified withholding of
  5   relevant, non-privileged documents and communications in its privilege log.
  6   I.       PRELIMINARY STATEMENT
  7            This motion presents a focused and practical request: that the Court exercise
  8   its authority under California Evidence Code § 915(a) and (b) to conduct an in camera
  9   review of a discrete set of documents for which Defendant State Farm asserts
 10   attorney-client privilege or work product protection, despite lacking a sufficient
 11   factual or legal basis for doing so. The essential issue before the Court is whether
 12   State Farm may shield from discovery internal claims handling communications –
 13   many involving no attorneys, and created in the ordinary course of business – based
 14   solely on generalized and repetitive assertions of privilege that fail to meet the
 15   threshold burden required by law.
 16            At the center of this case is a fundamental question: Did State Farm act in bad
 17   faith when it denied or delayed coverage for the Laceys’ claim? That inquiry
 18   necessarily turns on the conduct and state of mind of the decision-makers—
 19   specifically, State Farm’s claims adjusters—whose internal communications and
 20   reasoning during the claims process are directly at issue. Yet State Farm now seeks
 21   to withhold precisely those communications through boilerplate assertions of
 22   privilege, despite failing to demonstrate that any recognized legal privilege in fact
 23   applies.
 24            Plaintiff challenges only a narrow subset of the documents identified in State
 25   Farm’s privilege log—specifically, those highlighted in red and green in Exhibit B
 26   to Plaintiff’s April 4, 2025 Letter Brief to the Special Master. The red entries concern
 27   communications between claims representatives made during the ordinary course of
 28   claims handling, while the green entries reflect internal discussions about purported
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  1   "opinions" of outside counsel, though it is unclear whether those opinions were ever
  2   formally requested or provided as legal advice. Crucially, many of these documents
  3   were created at or near key decision points—when the claim was first tendered, when
  4   coverage was denied, and when it was later accepted under a reservation of rights—
  5   making them highly relevant to the bad faith analysis.
  6            State Farm’s privilege log does not provide individualized or substantive
  7   justifications for withholding these documents. Instead, it relies on uniform, cut-and-
  8   paste assertions that offer no meaningful detail on the nature or context of the
  9   communications. This lack of specificity precludes both Plaintiff and the Court from
 10   evaluating the legitimacy of the privilege claims. Moreover, State Farm has already
 11   selectively disclosed portions of the same communications, raising serious concerns
 12   about waiver and fairness.
 13            Evidence Code § 915(b) is tailored for precisely this type of discovery dispute.
 14   Where, as here, a prima facie showing has been made that the claimed privilege may
 15   not apply, and the proponent has failed to substantiate its claim, the Court is expressly
 16   authorized to conduct an in camera review to resolve the issue. This mechanism is
 17   not only appropriate but necessary to safeguard the integrity of the discovery process,
 18   particularly where withheld documents go to the heart of the case.
 19            Plaintiff’s request is modest, narrowly tailored, and consistent with both
 20   statutory authority and principles of fairness. A limited in camera review of these
 21   selected documents (or a subset of these challenged documents) will allow the Court
 22   to determine whether State Farm’s privilege claims are valid or merely an attempt to
 23   shield relevant, discoverable evidence. Because these documents bear directly on the
 24   conduct and state of mind of the claims personnel whose decisions are central to the
 25   bad faith claim, Plaintiff respectfully requests that the Court grant the request for in
 26   camera review pursuant to Evidence Code § 915(a) and (b).
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  1   Costco, supra, 47 Cal.4th at 735. Indeed, “[b]ecause an in-house lawyer often has
  2   other functions in addition to providing legal advice, the lawyer’s role on a particular
  3   occasion will not be self-evident as it usually is in the case of outside counsel.”
  4   Minebea Co., Ltd. v. Papst, 228 F.R.D. 13, 21 (D.D.C. 2005). Accordingly, “courts
  5   impose a higher burden on in-house counsel to ‘clearly demonstrate’ that advice was
  6   given in a legal capacity.” Neuberger Berman Real Estate Income Fund, Inc. v. Lola
  7   Brown Trust No. 1B, 230 F.R.D. 398, 411 n.20 (D. Md. 2005) (citation omitted).
  8            And the principle applies equally here with regard to State farm’s coverage
  9   counsel. To justify withholding communications with coverage counsel, the
 10   “lawyer’s role as a lawyer must be primary to her participation” in the
 11   communication. In re Vioxx Prods. Liability Litig., 501 F. Supp. 2d 789, 798 (E.D.
 12   La. 2007). Communications with in-house counsel are not privileged to the extent
 13   they “would have been made because of a business purpose,” regardless of whether
 14   there may have been a “perceived additional interest in securing legal advice.”
 15   McCaugherty v. Siffermann, 132 F.R.D. 234, 238 (N.D. Cal. 1990). See also, e.g.,
 16   Upjohn Co. v. U.S., 449 U.S. 383, 395-96 (1981) (ACP only protects
 17   communications from client to attorney, and not disclosure of underlying facts).
 18   Based on the foregoing, Plaintiff has made a factual showing that State Farm’s claims
 19   file notes may not be privileged.
 20            B. In Camera Review Is Warranted Because the Claims Adjusters’
 21                 Conduct Is the Core of the Bad Faith Claim and Cannot Be Shielded.
 22            This case turns on what State Farm’s claims personnel did, when they did it,
 23   and why. The internal communications reflect the evaluative process that led to State
 24   Farm’s decisions regarding its initial denial of coverage to David Lacey. Indeed,
 25   State Farm seeks to withhold from disclosure even the very first entry into its claims
 26   file titled “New Suit Notification.” This communication has been entirely redacted
 27   and reflects the entry as having been made into the file by a claims representative –
 28   without reference to an attorney (or even a communication with an attorney)
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  1
      Dated:        April 14, 2025                 Respectfully Submitted,
  2

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  5                                                By: /s/ Trent Copeland
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  6                                                   Trent Copeland
  7                                                    Attorneys for Plaintiffs
                                                       Jacquelyn “Jackie” Lacey and
  8                                                    Jacquelyn “Jackie” Lacey as trustee
                                                       of the D and J. Lacey Family Trust
  9                                                    Dated November 23, 2016
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 14                         UNITED STATES DISTRICT COURT
 15                       CENTRAL DISTRICT OF CALIFORNIA
 16   JACQUELYN “JACKIE” LACEY, in                   Case No. 2:24-cv-05205-FMO-MAA
      her individual capacity; and
 17   JACQUELYN “JACKIE” LACEY as                    Judge: Hon. Fernando M. Olguin
      trustee of the D and J Lacey Family
 18   Trust dated November 23, 2016,                 PLAINTIFF JACQUELYN
                                                     “JACKIE” LACEY’S SECOND
 19                    Plaintiff,                    AMENDED BRIEF IN SUPPORT
                                                     OF OBTAINING RELEVANT,
 20            v.                                    NON-PRIVILEGED
                                                     DOCUMENTS FROM
 21   STATE FARM GENERAL                             DEFENDANT STATE FARM
      INSURANCE COMPANY, an Illinois                 GENERAL INSURANCE
 22   corporation, and DOES 1-50, inclusive,         COMPANY
 23                    Defendant.
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               PLAINTIFF’S SECOND AMENDED BRIEF IN SUPPORT OF OBTAINING RELEVANT, NON-
           PRIVILEGED DOCUMENTS FROM DEFENDANT STATE FARM GENERAL INSURANCE COMPANY
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  1            Pursuant to the Special Master’s instructions on April 7, 2025, Plaintiff
  2   Jacquelyn Lacey, individually, and as trustee of the D and J. Lacey Family Trust
  3   Dated November 23, 2016 (“Plaintiff”) submits this brief to further address defendant
  4   State Farm General Insurance Company’s (“State Farm”) unjustified withholding of
  5   relevant, non-privileged documents and communications in its privilege log.
  6   I.       PRELIMINARY STATEMENT
  7            This motion presents a focused and practical request: that the Court exercise
  8   its authority under California Evidence Code § 915(a) and (b) to conduct an in camera
  9   review of a discrete set of documents for which Defendant State Farm asserts
 10   attorney-client privilege or work product protection, despite lacking a sufficient
 11   factual or legal basis for doing so. The essential issue before the Court is whether
 12   State Farm may shield from discovery internal claims handling communications –
 13   many involving no attorneys, and created in the ordinary course of business – based
 14   solely on generalized and repetitive assertions of privilege that fail to meet the
 15   threshold burden required by law.
 16            At the center of this case is a fundamental question: Did State Farm act in bad
 17   faith when it denied or delayed coverage for the Laceys’ claim? That inquiry
 18   necessarily turns on the conduct and state of mind of the decision-makers—
 19   specifically, State Farm’s claims adjusters—whose internal communications and
 20   reasoning during the claims process are directly at issue. Yet State Farm now seeks
 21   to withhold precisely those communications through boilerplate assertions of
 22   privilege, despite failing to demonstrate that any recognized legal privilege in fact
 23   applies.
 24            Plaintiff challenges only a narrow subset of the documents identified in State
 25   Farm’s privilege log—specifically, those highlighted in red and green in Exhibit B
 26   to Plaintiff’s April 4, 2025 Letter Brief to the Special Master. The red entries concern
 27   communications between claims representatives made during the ordinary course of
 28   claims handling, while the green entries reflect internal discussions about purported
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  1   "opinions" of outside counsel, though it is unclear whether those opinions were ever
  2   formally requested or provided as legal advice. Crucially, many of these documents
  3   were created at or near key decision points—when the claim was first tendered, when
  4   coverage was denied, and when it was later accepted under a reservation of rights—
  5   making them highly relevant to the bad faith analysis.
  6            State Farm’s privilege log does not provide individualized or substantive
  7   justifications for withholding these documents. Instead, it relies on uniform, cut-and-
  8   paste assertions that offer no meaningful detail on the nature or context of the
  9   communications. This lack of specificity precludes both Plaintiff and the Court from
 10   evaluating the legitimacy of the privilege claims. Moreover, State Farm has already
 11   selectively disclosed portions of the same communications, raising serious concerns
 12   about waiver and fairness.
 13            Evidence Code § 915(b) is tailored for precisely this type of discovery dispute.
 14   Where, as here, a prima facie showing has been made that the claimed privilege may
 15   not apply, and the proponent has failed to substantiate its claim, the Court is expressly
 16   authorized to conduct an in camera review to resolve the issue. This mechanism is
 17   not only appropriate but necessary to safeguard the integrity of the discovery process,
 18   particularly where withheld documents go to the heart of the case.
 19            Plaintiff’s request is modest, narrowly tailored, and consistent with both
 20   statutory authority and principles of fairness. A limited in camera review of these
 21   selected documents (or a subset of these challenged documents) will allow the Court
 22   to determine whether State Farm’s privilege claims are valid or merely an attempt to
 23   shield relevant, discoverable evidence. Because these documents bear directly on the
 24   conduct and state of mind of the claims personnel whose decisions are central to the
 25   bad faith claim, Plaintiff respectfully requests that the Court grant the request for in
 26   camera review pursuant to Evidence Code § 915(a) and (b).
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                                    ID #:4302


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      See also, SF-CF (PLUP) 000028:
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 17         Each of the above examples, albeit limited given the page limits, are claims
 18   file notes entered by claims adjusters assigned to handle the Lacey’s claim file in the
 19   regular course of their business, none of which are addressed to counsel for legal
 20   opinions, nor are they attorney-work product. Rather, these internal notes reference
 21   the adjusters’ recommendations, pending activities, and discussion with other State
 22   Farm claims representatives regarding the Lacey’s insurance claim. National Steel
 23   Products Co. v. Superior Court, 164 Cal.App.3d 476, 489 (1985) (Privilege is strictly
 24   construed because it suppresses relevant facts which may be necessary for a just
 25   decision.)
 26         What Costco also reaffirmed is the long-standing principle that “a client cannot
 27   protect unprivileged information from discovery by transmitting it to an attorney.”
 28   Costco,     supra, 47 Cal.4th at 735. Indeed, “[b]ecause an in-house lawyer often has
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  1   other functions in addition to providing legal advice, the lawyer’s role on a particular
  2   occasion will not be self-evident as it usually is in the case of outside counsel.”
  3   Minebea Co., Ltd. v. Papst, 228 F.R.D. 13, 21 (D.D.C. 2005). Accordingly, “courts
  4   impose a higher burden on in-house counsel to ‘clearly demonstrate’ that advice was
  5   given in a legal capacity.” Neuberger Berman Real Estate Income Fund, Inc. v. Lola
  6   Brown Trust No. 1B, 230 F.R.D. 398, 411 n.20 (D. Md. 2005) (citation omitted).
  7            And the principle applies equally here with regard to State farm’s coverage
  8   counsel. To justify withholding communications with coverage counsel, the
  9
      “lawyer’s role as a lawyer must be primary to her participation” in the
 10
      communication. In re Vioxx Prods. Liability Litig., 501 F. Supp. 2d 789, 798 (E.D.
 11
      La. 2007). Communications with in-house counsel are not privileged to the extent
 12
      they “would have been made because of a business purpose,” regardless of whether
 13
      there may have been a “perceived additional interest in securing legal advice.”
 14
      McCaugherty v. Siffermann, 132 F.R.D. 234, 238 (N.D. Cal. 1990). See also, e.g.,
 15
      Upjohn Co. v. U.S., 449 U.S. 383, 395-96 (1981) (ACP only protects
 16
      communications from client to attorney, and not disclosure of underlying facts).
 17
      Based on the foregoing, Plaintiff has made a factual showing that State Farm’s claims
 18
      file notes may not be privileged.
 19
               B. In Camera Review Is Warranted Because the Claims Adjusters’
 20               Conduct Is the Core of the Bad Faith Claim and Cannot Be Shielded.
 21            This case turns on what State Farm’s claims personnel did, when they did it,
 22   and why. The internal communications reflect the evaluative process that led to State
 23   Farm’s decisions regarding its initial denial of coverage to David Lacey. Indeed,
 24   State Farm seeks to withhold from disclosure even the very first entry into its claims
 25   file titled “New Suit Notification.” This communication has been entirely redacted
 26   and reflects the entry as having been made into the file by a claims representative –
 27   without reference to an attorney (or even a communication with an attorney)
 28   whatsoever. The wholesale redaction reflected in SF-CF (HO) 000110 is a further
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  1   Dated:        April 14, 2025                 Respectfully Submitted,
  2
                                                   ELLIS GEORGE LLP
  3

  4
                                                   By: /s/ Trent Copeland
  5                                                   Eric M. George
                                                      Trent Copeland
  6
                                                       Attorneys for Plaintiffs
  7                                                    Jacquelyn “Jackie” Lacey and
                                                       Jacquelyn “Jackie” Lacey as trustee
  8                                                    of the D and J. Lacey Family Trust
                                                       Dated November 23, 2016
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    “JACKIE” LACEY, in her individual
 12 capacity; and JACQUELYN “JACKIE”
    LACEY as trustee of the D and J Lacey
 13 Family Trust dated November 23, 2016
 14
 15                               UNITED STATES DISTRICT COURT
 16                             CENTRAL DISTRICT OF CALIFORNIA
 17
 18 JACQUELYN “JACKIE” LACEY,                        Case No. 2:24-cv-05205-FMO-MAA
    in her individual capacity; and
 19 JACQUELYN “JACKIE” LACEY                         DECLARATION OF TRENT
    as trustee of the D and J Lacey Family           COPELAND IN RESPONSE TO
 20 Trust dated November 23, 2016,                   SPECIAL MASTER’S ORDER TO
                                                     SHOW CAUSE RE SANCTIONS
 21                     Plaintiffs,
 22               vs.
 23 STATE FARM GENERAL
    INSURANCE COMPANY, an Illinois
 24 corporation, and DOES 1-50, inclusive,           [Assigned to the Hon. Fernando M.
                                                     Olguin, Courtroom 6D]
 25                     Defendants.
                                                     Complaint filed: July 4, 2020
 26
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      DECLARATION OF TRENT COPELAND IN RESPONSE TO SPECIAL MASTER’S ORDER TO SHOW CAUSE
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   1                      DECLARATION OF TRENT COPELAND
   2        I, Trent Copeland, declare and state as follows:
   3        1.     I am an attorney at law, duly admitted to practice before this Court and
   4 all courts of the State of California. I am a partner with Ellis George LLP, counsel
   5 of record for Plaintiffs Jacquelyn “Jackie” Lacey and Jacquelyn “Jackie” Lacey as
   6 trustee of the D and J. Lacey Family Trust Dated November 23, 2016 (collectively,
   7 “Plaintiffs”) in this matter.
   8        2.     I submit this Declaration pursuant to the Special Master’s April 15,
   9 2025, Order to Show Cause re: Sanctions (the “OSC”). I have personal knowledge
 10 of all the matters set forth herein, and could and would testify competently thereto if
 11 called upon to do so.
 12         3.     This problem began with me—full stop – in my failure to advise my
 13 colleagues that a preliminary outline I forwarded to them had relied, in part, on the
 14 use of generative AI capabilities found in CoCounsel and Westlaw Precision and
 15 Google Gemini. To the extent my colleagues were tasked with the primary
 16 responsibility for research and drafting of the memorandum, they did so in
 17 reliance—at least initially—on my preliminary outline and notes I had provided
 18 several days earlier.
 19         4.     Since I was engaged in preparing for a trial scheduled to start April 14,
 20 2025, I was unable to produce a more comprehensive work product, so I emailed my
 21 notes and high-level thoughts in outline format. I did so because I wanted to assure
 22 our drafting team had the benefit of my preliminary thoughts and a general roadmap
 23 before beginning their research and writing. I believe I initially used CoCounsel,
 24 which I had recently been exposed to through a firm training, as well as Westlaw’s
 25 AI tool to undertake research. I also briefly conducted internet research using
 26 Gemini, Google’s AI product, for information and cases related to insurance
 27 companies defending against bad faith claims. I compiled a significant number of
 28 notes which I believed (1) accurately reflected current law, and (2) had been
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   1 faithfully transcribed based on the sources I reviewed. It is unclear to me whether
   2 there was human error in my transcription of that research, or whether one of the
   3 research tools I utilized returned some erroneous information.
   4        5.     On April 9, 2025, I circulated to my colleagues Ryan Keech and Keian
   5 Vahedy some of my notes along with a bullet-point outline of the legal arguments I
   6 hoped the team would address as they prepared the memorandum. By April 11,
   7 2025, it was my understanding the K&L Gates team, along with an associate from
   8 Ellis George, had commenced drafting the memorandum. I understand they
   9 engaged in their own legal research and writing to bring the brief to near-final form.
 10 It is clear that they relied on the accuracy of some of the case citations included in
 11 my initial outline, while also adding themselves the vast majority of the case
 12 authority to the brief. In hindsight, there is no question I should have taken more
 13 care to first check the accuracy of these citations before sending or explicitly request
 14 my colleagues to do so before including any material from my preliminary outline in
 15 the final version of the brief.
 16         6.     In reviewing versions 1 through 3 of the draft, it is apparent that no one
 17 confirmed the accuracy of some of citations pulled from my preliminary outline.
 18 Compounding matters, prior to the filing of version 2, my legal assistant noticed that
 19 we were working off of multiple drafts—none of which, we later realized, had been
 20 thoroughly checked. Further, I cannot say with certainty how the parenthetical for
 21 National Steel changed between versions 1 and 2, but I suspect the switch resulted
 22 from uploading a different version that included the correct citation. In our haste to
 23 meet the filing deadline, we failed to (1) ensure that the correct and final document
 24 had been uploaded, and (2) conduct a thorough citation check of the cases submitted
 25 to the Court—both of which should have occurred and which I assumed had been
 26 completed.
 27         7.     In short, our process broke down at several levels across both firms.
 28 And as the most senior lawyer on our collective team — whether cite-checking was
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   1 my responsibility or not — I accept responsibility for (1) not alerting my colleagues
   2 with respect to the tools I utilized in conducting the initial research; and (2) failing
   3 to conduct cite-checking myself or to specifically request that the brief be properly
   4 reviewed for citation errors; and (3) not adequately supervising the cite-checking
   5 process. I am both deeply apologetic and embarrassed by this error. As for the
   6 “bizarre” modification the Court referenced in version 2, I am informed this was the
   7 result of a typographical error compounded by a technical glitch during the upload
   8 process by my assistant. Not at any time was there a deliberate effort to deceive or
   9 falsify the state of the law, nor did we.
 10          8.    Importantly, even before this event, I had reviewed and was familiar
 11 with the State Bar’s ethical guidance on the responsible use of generative AI in the
 12 practice of law. This guidance emphasized that while lawyers may use generative
 13 AI, our ethical obligations apply in the same way as with any other technology.
 14 Specifically, on July 24, 2024, the State Bar stated in its guidance order that “The
 15 State Bar recognizes that generative AI systems are not without risks. COPRAC’s
 16 Practical Guidance, the State Bar’s interim AI Guidelines, and other work we are
 17 doing to responsibly support the exploration of AI internally and within the legal
 18 profession balance opportunity against the risks of bias, inaccuracy, incompleteness,
 19 and falsehood that could undermine the benefits that generative AI will create.”
 20 Additionally, I also understood that while the use of AI does not violate Business
 21 and Professions Code 6068(e)(2), my ethical duties included double-checking the
 22 source accuracy. Because I was aware of this guidance, I should have been more
 23 mindful and cautious about the risks, and I should have informed my team of my use
 24 of AI so that we could collectively mitigate any errors that might result, even from
 25 its good-faith use. I fell short in that regard and that will never happen again.
 26          9.    Following the Special Master’s instructions, I have personally reviewed
 27 each and every citation and quotation - and compared these findings with my
 28 colleagues - to be certain that we have found any possible issues with the citations,
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   1 including even the misplacement of a parenthetical. The below constitutes a list of
   2 items, including typographical errors, that we believe should be brought to the
   3 Special Master’s attention – irrespective of whether these errors are associated with
   4 the use of AI, or not:
   5               a.    Page 3 of Dkt. 98:
   6                     i.     People v. Superior Court, 25 Cal.4th 703, 725 (2001) (“A
   7               trial court has broad discretion to review materials in camera to
   8               determine whether a claimed privilege applies.”).–.there should be no
   9               quotes in the parenthetical, which should refer to n. 7.
 10                b.    Page 4 of Dkt. 98:
 11                      i.     Wellpoint Health Networks, Inc. v. Superior Court, 59
 12                Cal.App.4th 110, 119 (1997) – the pincite should be page 123, not 119.
 13                      ii.    Aetna Cas. & Surety Co. v. Superior Court, 153
 14                Cal.App.3d 467, 476 (1984) (“Where the evidence sought is directly at
 15                issue… a party should not be allowed to use privilege as both a sword
 16                and a shield.”) – non-existent quote; however, this case exists and the
 17                quote states a generally correct proposition of law.
 18                      iii.   Zurich American Ins. Co. v. Superior Court, 155
 19                Cal.App.4th 1485, 1503 (2007) (“Communications by corporate
 20                employees that are not made at the direction of counsel or for the
 21                purpose of legal advice are not privileged.”) – the pincite should be
 22                1504 and state: “otherwise routine, non-privileged communications
 23                between corporate officers or employees transacting the general
 24                business of the company do not attain privileged status solely because
 25                in-house or outside counsel is ‘copied in’ on correspondence or
 26                memoranda”.
 27                c.    Page 5 of Dkt. 98:
 28                      i.     Costco, supra, 47 Cal.4th at 739 – should not have quotes
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   1               within the parentheticals.
   2               d.     Page 6 of Dkt. 98:
   3                      i.    Davis v. City of Santa Ana, 51 Cal.App.5th 1094, 1115
   4               (2020)– inaccurate citation to a case that appears not to exist and
   5               should be removed and not relied upon.
   6                      ii.   National Steel Products Co. v. Superior Court, 164
   7               Cal.App.3d 476, 489 (1985) (“Internal memoranda or claims file
   8               materials, although they may discuss legal theories, litigation tactics or
   9               potential liability, are not privileged unless they are written by or at the
 10                direction of counsel and prepared for the purpose of transmitting
 11                information to counsel for legal advice.”) – the pincite should be 477,
 12                should not have quotes, and the parenthetical should be revised to
 13                reflect that privilege is strictly construed because it suppresses relevant
 14                facts which may be necessary for a just decision.
 15                e.     Page 9 of Dkt. 98:
 16                       i.    Lipton v. Superior Court, 48 Cal.App.4th 1599, 1619
 17                (1996) (“A party may not use the privilege as both a sword and a
 18                shield.”) – inaccurate quote; quote from this case should be “The party
 19                claiming the privilege has the burden to show that the communication
 20                sought to be suppressed falls within the terms of the claimed privilege.”
 21                See D. I. Chadbourne, Inc. v. Superior Court (1964) 60 Cal.2d 723,
 22                729.
 23                f.     Page 10 of Dkt. 98:
 24                        i.   Booth v. Allstate Ins. Co., 198 Cal.App.3d 1357, 1366
 25                (1989) (“An insurer cannot assert privilege to shield evidence of bad
 26                faith.”) – inaccurate quote to a case that appears not to exist but is a
 27                correct proposition of law. See, e.g., Zurich Ins. Co. v. State Farm Mut.
 28                Auto. Ins. Co., 137 A.2d 401, 402 (1st Dep’t 1988) (“Where it is alleged
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   1                     that the insurer has breached that duty to its insured, the insurer may
   2                     not use the attorney-client or work product privilege as a shield to
   3                     prevent disclosure which is relevant to the insured’s bad faith action”);
   4                     Boone v. Vanliner Ins. Co., 9 Ohio St. 3d 209, 213-14 (2001) (“in an
   5                     action alleging bad faith denial of insurance coverage, the insured is
   6                     entitled to discover claims file materials containing attorney client
   7                     communications related to the issue of coverage that were created prior
   8                     to the denial of coverage.”).
   9                            ii.   Nei v. Travelers Home and Marine Ins. Co., 326 F.R.D.
 10                      652 (2018) (holding that attorney-client privilege does not apply when
 11                      an attorney acts as a claims adjuster, supervisor, or investigation
 12                      monitor rather than a legal advisor) – pincites should be 658.
 13                Executed this 18th day of April, 2025, at Los Angeles, California.
 14                I declare under penalty of perjury under the laws of the State of California
 15 that the foregoing is true and correct.
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 17
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 19
                                                          Trent Copeland
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                                    ID #:4319



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 12 Attorneys for Plaintiff JACQUELYN
    “JACKIE” LACEY, in her individual
 13 capacity; and JACQUELYN “JACKIE”
    LACEY as trustee of the D and J Lacey
 14 Family Trust dated November 23, 2016
 15
 16                        UNITED STATES DISTRICT COURT
 17           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18 JACQUELYN “JACKIE” LACEY,                  Case No. 2:24-cv-05205-FMO-MAA
    in her individual capacity; and
 19 JACQUELYN “JACKIE” LACEY                   Judge: Fernando M. Olguin
 20 as trustee of the D and J Lacey Family
    Trust dated November 23, 2016,             DECLARATION OF RYAN Q.
 21                                            KEECH IN RESPONSE TO THE
                  Plaintiffs,                  SPECIAL MASTER’S ORDER TO
 22                                            SHOW CAUSE RE: SANCTIONS
           vs.
 23
 24 STATE FARM GENERAL
    INSURANCE COMPANY, an Illinois
 25 corporation, and DOES 1-50, inclusive,
 26               Defendants.
 27
 28
       DECLARATION OF RYAN Q. KEECH IN RESPONSE TO THE SPECIAL MASTER’S
                     ORDER TO SHOW CAUSE RE: SANCTIONS
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                                         ID #:4320



   1                        DECLARATION OF RYAN Q. KEECH
   2         I, Ryan Q. Keech, declare as follows:
   3         1.     I am an attorney licensed to practice law in this court and all courts of
   4 the State of California. I am a partner at the law firm of K&L Gates LLP, attorneys
   5 of record for Plaintiffs Jacquelyn “Jackie” Lacey and Jacquelyn “Jackie” Lacey as
   6 trustee of the D and J. Lacey Family Trust Dated November 23, 2016 (collectively,
   7 “Plaintiff”), in this action.
   8         2.     I submit this Declaration pursuant to the Special Master’s April 15, 2025
   9 Order to Show Cause re: Sanctions (the “OSC”). I have personal knowledge of each
 10 of the matters set forth herein, and would testify competently thereto if called upon to
 11 do so.
 12          3.     To begin, I have the utmost faith in and respect for the professional
 13 conduct and integrity of Mr. Copeland and his firm – with whom I have had the great
 14 privilege of working and from whom I have had the great privilege of learning as a
 15 partner and as co-counsel for years. His and their professionalism and ethics are
 16 beyond reproach.
 17          4.     As described herein, Mr. Copeland and Mr. Vahedy have been primarily
 18 responsible for the briefing associated with the privilege issue addressed by the Court
 19 on April 7, 2025. I had limited involvement in the preparation and did not sign, file
 20 or provide final approval of the contents of any of the three versions of the brief
 21 addressed in the OSC prior to filing.
 22          5.     However, I understand and take seriously the critical importance of
 23 accuracy in case citations in order for the process to function and know that my
 24 colleagues and co-counsel have a similar view. I apologize that these versions of the
 25 brief contained the inaccuracies initially identified by the Special Master, apologize
 26 further that I did not personally catch and correct those inaccuracies, and respectfully
 27 request, because – as discussed herein and as confirmed by the declarations of my
 28                                              -2-
       DECLARATION OF RYAN Q. KEECH IN RESPONSE TO THE SPECIAL MASTER’S
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   1 colleagues – these inaccuracies were inadvertent and the subject of an honest
   2 miscommunication, the OSC be discharged.
   3        6.     After the Court’s April 7, 2025 hearing, I discussed the Special Master’s
   4 request for briefing regarding the in-camera review procedures with Mr. Vahedy. I
   5 provided initial guidance on what I thought the brief should contain. Mr. Vahedy
   6 offered to prepare the draft of the brief, and I agreed.
   7        7.     Two days later, on April 9, 2025, I was copied on an email from Mr.
   8 Copeland to me and to Mr. Vahedy, providing what appeared to be a detailed outline
   9 of the brief. I recall that the outline contained a number of case citations. Mr.
 10 Copeland re-forwarded that outline on April 10, 2025. Mr. Copeland did not indicate
 11 where those citations came from and I did not independently verify those citations.
 12 Given our long experience working with Mr. Copeland and his firm and our utmost
 13 respect for his and his firm’s professional integrity – which respect, once again,
 14 continues – I did not doubt the accuracy of any of those citations.
 15         8.     On the afternoon of Friday, April 11, 2025, Mr. Vahedy copied me on
 16 his transmission to Mr. Copeland and his associate, Ms. Carpenter, of what I
 17 understood to be an initial draft of the requested brief. I had not received a draft of
 18 this brief prior to Friday.
 19         9.     While I knew that Mr. Copeland was taking the lead on this issue, I
 20 reviewed that draft on the morning of Saturday, April 12, 2025 and provided high-
 21 level comments aimed at ensuring that we were making a properly-tailored request
 22 and citing appropriately illustrative factual examples. I did not conduct a cite-by-cite
 23 review of the document. Mr. Copeland provided additional comments and instructed
 24 Mr. Vahedy and Ms. Carpenter to provide a revised draft. I understand that Mr.
 25 Vahedy worked with Mr. Copeland and Ms. Carpenter to address these comments
 26 throughout the day on April 12, 2025 and circulated a revised version of the brief late
 27 in the morning of April 13, 2025.
 28                                             -3-
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   1        10.    Early in the afternoon of April 13, 2025, Mr. Copeland confirmed that
   2 the revisions were appropriate and that he and his firm would take responsibility for
   3 finalizing, filing and submission to the Court. After Mr. Copeland provided that
   4 confirmation, later that same afternoon, I made a high-level suggestion for Mr.
   5 Copeland to consider incorporating relating to the brief’s introduction. I presumed,
   6 but did not specifically confirm, that the finalization, filing and submission process
   7 would include an appropriately robust proof and cite-checking procedure.
   8        11.    I did not participate in finalizing or filing this brief and did not sign off
   9 on its contents. I did not hear anything relating to the brief until approximately noon
 10 on April 14, 2025, when I learned that Mr. Copeland’s firm was experiencing
 11 formatting and submission issues with the JAMS system that were creating difficulty
 12 with meeting the Court’s noon deadline and that the initial filed version of the brief
 13 was not able to correct all of those issues. A subsequent version of the brief was filed
 14 that, I understand, corrected some of those issues. I had no involvement in these
 15 filings.
 16         12.    After the Special Master sent his message to the parties on April 14, 2025
 17 identifying apparent issues with two decisions in the brief, Mr. Copeland sent two
 18 messages to me and to Mr. Vahedy identifying replacement parentheticals and
 19 citations for the Boone and National Steel decisions identified in the Special Master’s
 20 email. Mr. Copeland promptly filed a corrected brief, which I again did not review
 21 and sign, and Mr. Vahedy sent an explanatory email to the Special Master explaining
 22 the inadvertent inclusion of these two citations. While it was obvious by this point
 23 that whatever cite check had been performed had issues, I was confident that the issue
 24 was most likely limited to the issues identified by the Court, caught by my colleagues
 25 and, even then, most likely had been caused by the formatting and submission
 26 difficulties described above that had earlier come to my attention.
 27         13.    I can confirm that none of our firm’s work on this brief involved our use
 28 of AI. In providing that confirmation, I do
                                              -4-not mean to suggest that there is anything
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   1 wrong with the appropriate use of AI: indeed, I understand that numerous profession-
   2 specific AI tools are becoming available – including Co-Counsel and Westlaw AI –
   3 which clients are increasingly demanding that counsel develop familiarity with in
   4 order to better align with their business focus, legal needs and market reality. What I
   5 do mean to say is that our firm has developed policies and procedures governing
   6 access to profession-specific AI tools, including Co-Counsel, and has decided to
   7 block access to these tools absent, inter alia, tool-specific training developed for use
   8 at our firm. Neither I nor Mr. Vahedy have such access. We did not have such access
   9 at the time of the preparation and filing of these briefs.
 10         14.    However, in light of the OSC, I came to the conclusion that the citation
 11 issue was broader than I had initially believed was the case when I reviewed the
 12 Court’s April 14, 2025 correspondence. Accordingly, while Mr. Copeland was
 13 conducting his own check, I personally conducted a check of each of the citations in
 14 the brief in order to catch whatever issues may have escaped the Special Master’s
 15 review.
 16         15.    After having conducted this check, I have determined that while most
 17 citations in the brief stand for the propositions for which they are cited, and the
 18 remainder of the citations largely involve familiar and supportable legal propositions
 19 present in other cases, the following citations should be changed. I apologize once
 20 again that, regardless of my and our level of involvement, I did not catch this issue
 21 prior to the filing of the brief:
 22                       a. Page 3 of Dkt. 98:
 23                              i. People v. Superior Court, 25 Cal.4th 703, 725 (2001)
 24                                 (“A trial court has broad discretion to review materials
 25                                 in camera to determine whether a claimed privilege
 26                                 applies.”) – there should be no quotes in the
 27                                 parenthetical, which should refer to n. 7.
 28                       b. Page 4 of Dkt. 98: -5-
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   1                          i. Wellpoint Health Networks, Inc. v. Superior Court, 59
   2                            Cal.App.4th 110, 119 (1997) – the pincite should be
   3                            page 123, not 119.
   4                         ii. Aetna Cas. & Surety Co. v. Superior Court, 153
   5                            Cal.App.3d 467, 476 (1984) (“Where the evidence
   6                            sought is directly at issue… a party should not be
   7                            allowed to use privilege as both a sword and a shield.”)
   8                            – inaccurate quote; however, this case exists and this is
   9                            generally a correct proposition of law.
 10                          iii. Zurich American Ins. Co. v. Superior Court, 155
 11                             Cal.App.4th 1485, 1503 (2007) (“Communications by
 12                             corporate employees that are not made at the direction
 13                             of counsel or for the purpose of legal advice are not
 14                             privileged.”) – the pincite should be 1504 and state:
 15                             “otherwise routine, non-privileged communications
 16                             between corporate officers or employees transacting the
 17                             general business of the company do not attain privileged
 18                             status solely because in-house or outside counsel is
 19                             ‘copied in’ on correspondence or memoranda.”
 20                   c. Page 5 of Dkt. 98:
 21                           i. Costco, supra, 47 Cal.4th at 739 – should not have
 22                             quotes within the parentheticals.
 23                   d. Page 6 of Dkt. 98:
 24                           i. Davis v. City of Santa Ana, 51 Cal.App.5th 1094, 1115
 25                             (2020) – inaccurate citation to a case that I have not been
 26                             able to find and should thus be removed.
 27                          ii. National Steel Products Co. v. Superior Court, 164
 28                             Cal.App.3d -6-
                                            476, 489 (1985) (“Internal memoranda or
       DECLARATION OF RYAN Q. KEECH IN RESPONSE TO THE SPECIAL MASTER’S
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   1                           claims file materials, although they may discuss legal
   2                           theories, litigation tactics or potential liability, are not
   3                           privileged unless they are written by or at the direction
   4                           of counsel and prepared for the purpose of transmitting
   5                           information to counsel for legal advice.”) – the pincite
   6                           should be 477 and the parenthetical should be revised to
   7                           reflect that privilege is strictly construed because it
   8                           suppresses relevant facts which may be necessary for a
   9                           just decision.
 10                   e. Page 9 of Dkt. 98:
 11                          i. Lipton v. Superior Court, 48 Cal.App.4th 1599, 1619
 12                            (1996) (“A party may not use the privilege as both a
 13                            sword and a shield.”) – inaccurate quote; however, this
 14                            case exists and this is a correct proposition of law.
 15                   f. Page 10 of Dkt. 98:
 16                          i. Booth v. Allstate Ins. Co., 198 Cal.App.3d 1357, 1366
 17                            (1989) (“An insurer cannot assert privilege to shield
 18                            evidence of bad faith.”) – inaccurate quote to a case that
 19                            appears not to exist, but is a holding made by other
 20                            courts: See, e.g., Zurich Ins. Co. v. State Farm Mut.
 21                            Auto. Ins. Co., 137 A.2d 401, 402 (1st Dep’t 1988)
 22                            (“Where it is alleged that the insurer has breached that
 23                            duty to its insured, the insurer may not use the attorney-
 24                            client or work product privilege as a shield to prevent
 25                            disclosure which is relevant to the insured’s bad faith
 26                            action”); Boone v. Vanliner Ins. Co., 9 Ohio St. 3d 209,
 27                            213-14 (2001) (“in an action alleging bad faith denial of
 28                            insurance coverage,
                                          -7-      the insured is entitled to discover
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   1                              claims   file   materials    containing attorney      client
   2                              communications related to the issue of coverage that
   3                              were created prior to the denial of coverage.”).
   4                          ii. Nei v. Travelers Home and Marine Ins. Co., 326 F.R.D.
   5                              652 (2018) (holding that attorney-client privilege does
   6                              not apply when an attorney acts as a claims adjuster,
   7                              supervisor, or investigation monitor rather than a legal
   8                              advisor) – pincite should be 658.
   9       I declare under penalty of perjury, under the laws of the United States of
 10 America, that the foregoing is true and correct.
 11        Executed this 18th day of April 2025, in Los Angeles, California.
 12
 13                                                           /s/ Ryan Q. Keech
 14                                                             Ryan Q. Keech

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       DECLARATION OF RYAN Q. KEECH IN RESPONSE TO THE SPECIAL MASTER’S
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 12 Attorneys for Plaintiff JACQUELYN
    “JACKIE” LACEY, in her individual
 13 capacity; and JACQUELYN “JACKIE”
    LACEY as trustee of the D and J Lacey
 14 Family Trust dated November 23, 2016
 15
 16                        UNITED STATES DISTRICT COURT
 17           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18 JACQUELYN “JACKIE” LACEY,                  Case No. 2:24-cv-05205-FMO-MAA
    in her individual capacity; and
 19 JACQUELYN “JACKIE” LACEY                   Judge: Fernando M. Olguin
 20 as trustee of the D and J Lacey Family
    Trust dated November 23, 2016,             DECLARATION OF KEIAN
 21                                            VAHEDY IN RESPONSE TO THE
                  Plaintiffs,                  SPECIAL MASTER’S ORDER TO
 22                                            SHOW CAUSE RE: SANCTIONS
           vs.
 23
 24 STATE FARM GENERAL
    INSURANCE COMPANY, an Illinois
 25 corporation, and DOES 1-50, inclusive,
 26               Defendants.
 27
 28
       DECLARATION OF KEIAN VAHEDY IN RESPONSE TO THE SPECIAL MASTER’S
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   1                       DECLARATION OF KEIAN VAHEDY
   2        I, Keian Vahedy, declare as follows:
   3        1.     I am an attorney licensed to practice law in this Court and Associate at
   4 the law firm of K&L Gates LLP, attorneys of record for Plaintiffs Jacquelyn “Jackie”
   5 Lacey and Jacquelyn “Jackie” Lacey as trustee of the D and J. Lacey Family Trust
   6 Dated November 23, 2016 (collectively, “Plaintiff”), in this action. I have personal
   7 knowledge of each of the matters set forth herein, and would testify competently
   8 thereto if called upon to do so.
   9        2.     I submit this Declaration pursuant to the Special Master’s Order to Show
 10 Cause re: Sanctions, explaining my role in assisting with preparing Plaintiff’s
 11 supplemental brief regarding defendant State Farm General Insurance Company’s
 12 (“State Farm”) privilege log.
 13         3.     While I did not finalize the brief for filing, I sincerely apologize for the
 14 evident errors in the citations provided within Plaintiff’s brief submitted on April 14,
 15 2025 (“Brief”). The inaccuracies contained therein were inadvertent and a result of
 16 honest miscommunication.         I should have caught these errors beforehand and
 17 apologize for not more actively checking all sources contained within Plaintiff’s
 18 Brief. I take seriously the critical importance of accuracy in case citations in order
 19 for the Special Master and the Court to meaningfully do their jobs, and I know that
 20 my colleagues share the same view.         I believed that the research submitted to me
 21 when I worked on drafting the brief was accurate and that the cases were properly
 22 cited. I had no information suggesting that any of the citations may have come from
 23 artificial intelligence and had no involvement in finalizing or submitting the document
 24 for filing. But it is still no excuse. As the associate tasked with drafting Plaintiff’s
 25 Brief, I should have made sure to cite-check not only the cases I provided, but also
 26 the cases that originated from Mr. Copeland’s outline.
 27         4.     To begin: I and Mr. Copeland have been primarily responsible for the
 28 briefing associated with the privilege issue
                                              -2-addressed by the Court on April 7, 2025.
       DECLARATION OF KEIAN VAHEDY IN RESPONSE TO THE SPECIAL MASTER’S ORDER
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   1 After the Court’s April 7, 2025 hearing, I spoke with Mr. Keech, who provided me
   2 with an update regarding the hearing and initial guidance as to what the brief should
   3 contain. I offered to prepare the draft of the brief, and he agreed.
   4        5.     On April 9, 2025, I and Mr. Keech received an email from Mr. Copeland,
   5 providing what appeared to be a detailed outline of the brief. This brief contained a
   6 number of case citations. Mr. Copeland re-forwarded that outline on April 10, 2025.
   7 While Mr. Copeland did not indicate where those citations came from, having
   8 previously worked at Ellis George LLP and understanding the high quality and
   9 standards that the firm and Mr. Copeland uphold in their practice, I relied on this
 10 outline when drafting the brief believing that its sources were true, accurate, and
 11 already cite checked. I separately conducted legal research exclusively on Westlaw:
 12 reviewing additional cases, secondary sources, and published trial documents, each
 13 of which I relied upon to lay foundation and draft Plaintiff’s Brief. With respect to
 14 the cases I found on Westlaw, I made sure to verify that these cases were valid and
 15 stood for the proposition for which they were cited.
 16         6.      I submitted a draft of the brief on Friday, April 11, 2025 to Mr. Copeland
 17 and his associate Ms. Carpenter, copying Mr. Keech. Mr. Keech provided high-level
 18 comments on Saturday, April 12, 2025, which was followed by Mr. Copeland
 19 providing additional comments to me and to Ms. Carpenter. Throughout the day on
 20 April 12, 2025 I worked with Mr. Copeland and Ms. Carpenter to address these
 21 comments. I circulated a revised version of the brief on the morning of April 13,
 22 2025.
 23         7.     On April 13, 2025, Mr. Copeland informed me that the revisions were
 24 appropriate and that he and his firm would take responsibility for finalizing, filing and
 25 submission to the Court. I offered to provide assistance in this regard, though did not
 26 hear anything relating to the brief until approximately noon on April 14, 2025, when
 27 I learned that Mr. Copeland’s firm was experiencing formatting and submission issues
 28 with the JAMS system that were creating difficulty
                                            -3-        with meeting the Court’s deadline.
       DECLARATION OF KEIAN VAHEDY IN RESPONSE TO THE SPECIAL MASTER’S
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   1 I assumed, again, that the citations provided to me on April 9 and 10 were accurate
   2 for the propositions they represented.
   3        8.     After the Court sent its message to the parties on April 14, 2025
   4 identifying apparent issues with two decisions in the brief, Mr. Copeland sent two
   5 messages to me and to Mr. Keech identifying replacement parentheticals and citations
   6 for the Boone and National Steel decisions identified in the Special Master’s email to
   7 the parties. I confirmed the accuracy of those parentheticals and prepared an email
   8 for submission to the Special Master, which I then sent in close proximity to the filing
   9 of the further revised brief.
 10         9.     After the Court issued its OSC, I personally conducted a full cite check
 11 of the brief that was filed with the Court in order to catch whatever issues may have
 12 escaped review.
 13         10.    At no point did I use or knowingly rely on any artificial intelligence tool
 14 or program to assist in drafting any version of this Brief. I do not have access to Co-
 15 Counsel at our firm. I have never used artificial intelligence, or any artificial
 16 intelligence program, with respect to my legal research or any law and motion practice
 17 in my career, nor is or would it be my practice to do so.
 18         11.    I confirm personally conducting a citation-by-citation check of the
 19 citations in the brief in order to catch whatever issues may have escaped the Special
 20 Master’s review. I confirm that most citations in the brief stand for the propositions
 21 for which they are cited. However, I also confirm finding that the following citations
 22 should be noted as follows and apologize again for not catching these issues sooner:
 23                       a. Page 3 of Dkt. 98:
 24                             i. People v. Superior Court, 25 Cal.4th 703, 725 (2001)
 25                                  (“A trial court has broad discretion to review materials
 26                                  in camera to determine whether a claimed privilege
 27                                  applies.”) – there should be no quotes in the
 28                                  parenthetical,
                                                 -4-which should refer to n. 7.
       DECLARATION OF KEIAN VAHEDY IN RESPONSE TO THE SPECIAL MASTER’S
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   1                  b. Page 4 of Dkt. 98:
   2                          i. Wellpoint Health Networks, Inc. v. Superior Court, 59
   3                            Cal.App.4th 110, 119 (1997) – the pincite should be
   4                            page 123, not 119.
   5                         ii. Aetna Cas. & Surety Co. v. Superior Court, 153
   6                            Cal.App.3d 467, 476 (1984) (“Where the evidence
   7                            sought is directly at issue… a party should not be
   8                            allowed to use privilege as both a sword and a shield.”)
   9                            – inaccurate quote; however, this case exists and this is
 10                             a correct proposition of law.
 11                          iii. Zurich American Ins. Co. v. Superior Court, 155
 12                             Cal.App.4th 1485, 1503 (2007) (“Communications by
 13                             corporate employees that are not made at the direction
 14                             of counsel or for the purpose of legal advice are not
 15                             privileged.”) – the pincite should be 1504 and state:
 16                             “otherwise routine, non-privileged communications
 17                             between corporate officers or employees transacting the
 18                             general business of the company do not attain privileged
 19                             status solely because in-house or outside counsel is
 20                             ‘copied in’ on correspondence or memoranda”
 21                   c. Page 5 of Dkt. 98:
 22                           i. Costco, supra, 47 Cal.4th at 739 – should not have
 23                             quotes within the parentheticals.
 24                   d. Page 6 of Dkt. 98:
 25                           i. Davis v. City of Santa Ana, 51 Cal.App.5th 1094, 1115
 26                             (2020) – inaccurate citation to a case that appears not to
 27                             exist and should be removed.
 28                                           -5-
       DECLARATION OF KEIAN VAHEDY IN RESPONSE TO THE SPECIAL MASTER’S
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   1                         ii. National Steel Products Co. v. Superior Court, 164
   2                            Cal.App.3d 476, 489 (1985) (“Internal memoranda or
   3                            claims file materials, although they may discuss legal
   4                            theories, litigation tactics or potential liability, are not
   5                            privileged unless they are written by or at the direction
   6                            of counsel and prepared for the purpose of transmitting
   7                            information to counsel for legal advice.”) – the pincite
   8                            should be 477, should not have quotes, and the
   9                            parenthetical should be revised to reflect that privilege
 10                             is strictly construed because it suppresses relevant facts
 11                             which may be necessary for a just decision.
 12                   e. Page 9 of Dkt. 98:
 13                          i. Lipton v. Superior Court, 48 Cal.App.4th 1599, 1619
 14                             (1996) (“A party may not use the privilege as both a
 15                             sword and a shield.”) – inaccurate express quote;
 16                             however, this case exists and this is a correct proposition
 17                             of law.
 18                   f. Page 10 of Dkt. 98:
 19                          i. Booth v. Allstate Ins. Co., 198 Cal.App.3d 1357, 1366
 20                             (1989) (“An insurer cannot assert privilege to shield
 21                             evidence of bad faith.”) – inaccurate quote to a case that
 22                             appears not to exist, but is a correct proposition of law.
 23                             See, e.g., Zurich Ins. Co. v. State Farm Mut. Auto. Ins.
 24                             Co., 137 A.2d 401, 402 (1st Dep’t 1988) (“Where it is
 25                             alleged that the insurer has breached that duty to its
 26                             insured, the insurer may not use the attorney-client or
 27                             work product privilege as a shield to prevent disclosure
 28                             which is relevant
                                           -6-    to the insured’s bad faith action”);
       DECLARATION OF KEIAN VAHEDY IN RESPONSE TO THE SPECIAL MASTER’S
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   1                              Boone v. Vanliner Ins. Co., 9 Ohio St. 3d 209, 213-14
   2                              (2001) (“in an action alleging bad faith denial of
   3                              insurance coverage, the insured is entitled to discover
   4                              claims   file   materials   containing   attorney   client
   5                              communications related to the issue of coverage that
   6                              were created prior to the denial of coverage.”).
   7                          ii. Nei v. Travelers Home and Marine Ins. Co., 326 F.R.D.
   8                              652 (2018) (holding that attorney-client privilege does
   9                              not apply when an attorney acts as a claims adjuster,
 10                               supervisor, or investigation monitor rather than a legal
 11                               advisor) – pincite should be 658.
 12        I declare under penalty of perjury, under the laws of the United States of
 13 America, that the foregoing is true and correct.
 14        Executed this 18th day of April 2025, in Irvine, California.
 15
 16                                                           /s/ Keian Vahedy
 17                                                             Keian Vahedy

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       DECLARATION OF KEIAN VAHEDY IN RESPONSE TO THE SPECIAL MASTER’S
                     ORDER TO SHOW CAUSE RE: SANCTIONS
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 12 Attorneys for Plaintiff JACQUELYN
    “JACKIE” LACEY, in her individual
 13 capacity; and JACQUELYN “JACKIE”
    LACEY as trustee of the D and J Lacey
 14 Family Trust dated November 23, 2016
 15
 16                        UNITED STATES DISTRICT COURT
 17           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18
 19 JACQUELYN “JACKIE” LACEY,                  Case No. 2:24-cv-05205-FMO-MAA
    in her individual capacity; and
 20 JACQUELYN “JACKIE” LACEY                   Judge Fernando M. Olguin
 21 as trustee of the D and J Lacey Family
    Trust dated November 23, 2016,             JAMS Case No. 1210040394
 22                                            Proceeding before Special Master Hon.
                  Plaintiffs,                  Michael R. Wilner (Ret.)
 23
           vs.                                 PLAINTIFF’S RESPONSE TO
 24                                            SPECIAL MASTER’S NOTICE OF
 25 STATE FARM GENERAL                         INTENDED SANCTIONS AND FEE
    INSURANCE COMPANY, an Illinois             ORDERS
 26 corporation, and DOES 1-50, inclusive,
                                               Date: April 29, 2025
 27               Defendants.                  Time: 10:00 a.m.
 28                                            Place: Remote via Zoom

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   1            Plaintiff and her counsel, Ellis George LLP and K&L Gates LLP, hereby
   2 respond to the Special Master’s April 20, 2025 Notice pursuant to Paragraph 8
   3 thereof and its five-page limitation. This submission consists of three discrete
   4 components: Section I, submitted jointly by Plaintiff, Ellis George, and K&L Gates;
   5 Section II, by K&L Gates alone; and Section III, by Ellis George alone.
   6       I.   JOINT SUBMISSION (BY PLAINTIFF AND BOTH FIRMS)
   7            A. Introduction
   8            As reflected in the declarations already submitted,1 Plaintiff humbly
   9 acknowledges, apologizes for, and takes full responsibility for the erroneous AI-
 10 generated citations that were inadvertently included in its briefing filed with the
 11 Special Master on April 14, 2025. This has never happened before in this case (nor
 12 in any other matter handled by these attorneys) and it will never happen again.
 13 Respectfully, however, most of the contemplated sanctions referenced in the Notice
 14 are unsupported by the facts and controlling legal principles, disproportionate to the
 15 circumstances at hand, and run counter to the ends of justice, as detailed below.
 16             B. Plaintiff’s Use of Erroneous AI-Generated Material Was Inadvertent,
 17                Promptly Disclosed, and Cured Without Causing Any Prejudice
 18             Given limited space, and the Special Master’s familiarity with the facts from
 19 the submitted declarations, Plaintiff will not provide a comprehensive discussion of
 20 the facts here, but summarizes the following points germane to the arguments:
 21             • Following the OSC, Plaintiff’s counsel candidly disclosed that limited
 22               portions of the Supplemental Brief were initially drafted with the aid of
                  generative artificial intelligence (“AI”), in an effort to explore time-saving
 23               methods during a period of constrained resources. Upon internal review,
 24               counsel acknowledged all of the case authority that had been AI-generated,
                  and additionally identified and disclosed other inconsistencies, including
 25               pin cite errors and misplacement of parentheticals. Plaintiff’s counsel
 26               specifically requested the Court not to rely upon the two nonexistent cases.

 27    1
     See Declarations of Trent Copeland (“Copeland Decl.”), Ryan Keech (“Keech Decl.”) and Keian
 28 Vahedy (“Vahedy Decl.”), all submitted April 18, 2025.
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   1           There is no indication whatsoever that any of Plaintiff’s counsel ever acted
               with malice, an intent to deceive, or bad faith of any kind.
   2
   3        • Despite the above citation issues, Plaintiff’s Supplemental Brief did not
   4          present any incorrect or non-existent proposition of law. Rather,
              Plaintiff’s arguments stem from established legal principles supported by
   5          valid precedent. Thus, the brief did not advance a frivolous legal position.
   6
            • Defendant did not rely upon, suffer any prejudice, or incur any expense
   7          due to the incorrect citations. Indeed, such would be impossible, logically
   8          and temporally, since per the Special Master’s orders, each side
              concurrently submitted their Supplemental Brief on April 14, 2025. In
   9          other words, Defendant’s submission was not filed in response to
 10           Plaintiff’s submission, nor did the Special Master’s orders permit either
              side to file a “reply” brief in response to the Supplemental Briefs.
 11
 12         C. The Contemplated Sanctions Are Not Appropriate Under the Law

 13         The Ninth Circuit has long held that “[i]n determining the validity of any

 14 judicial sanction, we must first consider the underlying authority for the court’s
 15 action.” Zambrano v. City of Tustin, 885 F.2d 1473, 1476 (9th Cir. 1989). “For a
 16 sanction to be validly imposed, the conduct in question must be sanctionable under
 17 the authority relied on.” Id. at 1476-77 (citations omitted). Here, the Notice
 18 identifies three sources of authority for imposing sanctions: (i) the Court’s inherent
 19 authority to “regulate all proceedings” before it; (ii) FRCP 11; and (iii) FRCP 37.
 20         To impose sanctions under the Court’s inherent authority, the target “must

 21 have ‘engaged in bad faith or willful disobedience of a court’s order.’” Fink v.
 22 Gomez, 239 F.3d 989, 992 (9th Cir. 2001); see also U.S. v. Stoneberger, 805 F.2d
 23 1391, 1393 (9th Cir. 1986) (“A specific finding of bad faith...must ‘precede any
 24 sanction under the court’s inherent powers.’”) (citations omitted). As detailed
 25 above, there is no bad faith here, and thus sanctions under the Court’s inherent
 26 powers are not appropriate. See, e.g., United States v. Cohen, 724 F. Supp. 3d 251,
 27 258 (S.D.N.Y. 2024) (declining to impose sanctions upon attorney for mistaken
 28 inclusion of erroneous AI material in brief, holding that “the Court cannot find that
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   1 it was done in bad faith”); compare Unites States v. Hayes, --- F. Supp. 3d. ---, 2025
   2 WL 235531, at *9 (E.D. Cal. 2025) (issuing sanctions against attorney who declined
   3 to admit use of AI and persisted in asserting the validity of non-existent cases
   4 despite opposition that expressly raised fictitious case concerns); Mata v. Avianca,
   5 678 F. Supp. 3d 443, 466 (S.D.N.Y. 2023).
   6            Likewise, for Rule 11: where, as here, the proposed sanction is imposed sua
   7 sponte, a finding of bad faith is a prerequisite. See, e.g., United National Ins. Co. v.
   8 R&D Latex Corp., 242 F.3d 1102, 1116 (9th Cir. 2001) (“sua sponte sanctions ‘will
   9 ordinarily be imposed only in situations that are akin to a contempt of court’”); see
 10 also Cohen, 724 F. Supp. 3d at 258 (“sua sponte [Rule 11] sanctions should only
 11 issue upon a finding of subjective bad faith”). Again, there is no bad faith here.2
 12             Turning to Rule 37: The specific prongs of the Rule cited in the Notice are
 13 Rule 37(a)(5)(B) (award of attorney’s fees) and Rule 37(b)(2)(A)(ii-iii) (prohibiting
 14 a party from “supporting or opposing designated claims or defenses” and “striking
 15 pleadings in whole or in part”). Starting with the latter (Rule 37(b)(2)(A)(ii-iii)): by
 16 their own terms, those provisions have no applicability here. To impose any
 17 sanction under Rule 37(b)(2)(A), the Court must find that a party has “fail[ed] to
 18 obey an order to provide or permit discovery.” Fed. R. Civ. P. 37(b)(2)(A). Here,
 19 nothing of the sort is even alleged to have occurred, and thus there is no basis for the
 20 contemplated sanction of striking Plaintiff’s Supplemental Brief wholesale. By
 21 extension, then, the automatic denial of the underlying motion due to the
 22 contemplated striking of Plaintiff’s brief is likewise inappropriate. Further, the
 23 Notice’s contemplated sanction of ordering Plaintiff’s counsel “to pay reasonable
 24 attorney’s fees that Defendant incurred in the preparation of its supplemental brief
 25
       2
           Moreover, a Rule 11 sanction imposed sua sponte can never include a payment of attorney’s
 26 fees to the opposing party, given the provision in Rule 11(c)(4) that fee awards are only available
       “if imposed on motion.” Fed. R. Civ. P. 11(c)(4) (emphasis added); see also Barber v. Miller, 146
 27 F.3d 707, 711 (9th Cir. 1998); Nuwesra v. Merrill Lynch, Fenner & Smith, Inc., 174 F.3d 87, 94
 28 (2nd Cir. 1999).
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   1 (filed April 14)” is, respectfully, not appropriate: First, Defendant’s Supplemental
   2 Brief was filed concurrently with Plaintiff’s Supplemental Brief. Thus, any fees
   3 expended in its preparation could not have resulted from any mistaken citations in
   4 Plaintiff’s Supplemental Brief. Second, any attorney’s fee award under Rule
   5 37(a)(5)(B) requires that the movant have lost the motion; as noted above, the
   6 striking of Plaintiff’s brief is not permitted under these circumstances, and thus the
   7 motion should not automatically be denied. Third, even if the Court denies the
   8 motion on its merits, Rule 37(a)(5)(B) provides that “the court must not order this
   9 payment if the motion was substantially justified.” And here, Plaintiff respectfully
 10 submits that, if nothing else, the motion was substantially justified.
 11         Finally, even when considering AI hallucination matters in isolation (separate
 12 and apart from the foregoing legal impediments), Plaintiff respectfully notes that the
 13 proposed sanctions discussed above do not comport with the principle that “any
 14 sanction imposed must be proportionate to the offense and commensurate with
 15 principles of restraint.” Zambrano, 885 F.2d at 1480. Here, given the candor of
 16 Plaintiff’s counsel, the fundamental correctness of the legal arguments advanced, the
 17 lack of any bad faith, and the lack of prejudice, Plaintiff respectfully submits that
 18 imposing sanctions that substantively impact the case—including the striking of
 19 briefing and denial of the motion—would unfairly penalize Plaintiff and her case.
 20 See, e.g., id. at 1476 (cautioning against penalizing litigants for inadvertent
 21 transgressions by counsel).
 22         D. CONCLUSION
 23         Plaintiff respectfully submits that the contemplated sanctions set forth in
 24 Paragraph 6(a), 6(b), and 6(c) of the Notice are not appropriate. That said,
 25 Plaintiff’s counsel reiterates their acknowledgement of the errors that occurred here
 26 and their sincere apologies, and stipulate to the contemplated sanctions set forth in
 27 Paragraph 6(d) (apportionment to Plaintiffs’ counsel of Special Master fees relating
 28 to correction of the foregoing errors and these OSC proceedings) and Paragraph 6(e)
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   1 (written disclosures to Plaintiff).
   2   II.   SUBMISSION BY K&L GATES, ONLY
   3         K&L Gates briefly notes the following additional facts and mitigating factors
   4 specific to it and its lawyers. K&L Gates has strict policies and prohibitions on the
   5 use of generative AI tools, and indeed blocks its attorneys from accessing such tools
   6 absent, inter alia, tool-specific training. (See Keech Decl., ¶ 13; Vahedy Decl.,
   7 ¶ 10.) None of the K&L Gates attorneys who worked on the subject brief used any
   8 AI tools; had access to any AI tools; or had any awareness that an Ellis George
   9 attorney had used such tools in connection with the subject brief, until after the
 10 Special Master’s inquiries. (See Keech Decl., ¶ 13; Vahedy Decl., ¶ 10; see also
 11 Copeland Decl., ¶ 3.) K&L Gates further notes that it had no reason to doubt the
 12 accuracy of the citations provided by its trusted co-counsel, and that it did not sign
 13 or file the subject brief. (See Keech Decl., ¶¶ 3-7; Vahedy Decl., ¶¶ 3-5.) see also
 14 Braun ex rel Advanced Battery Techs., Inc. v. Zhiguo Fu, 2015 WL 4389893, at *19
 15 (S.D.N.Y. Jul. 10, 2015) (declining to impose sanctions where no evidence that
 16 anybody at firm had actual knowledge that pleading contained false allegation). No
 17 sanctions against K&L Gates are appropriate in this situation.
 18 III.     SUBMISSION BY ELLIS GEORGE, ONLY
 19          Ellis George notes the following mitigating factors specific to its lawyer,
 20 Trent Copeland: Mr. Copeland used generative AI tools specifically designed for
 21 legal professionals when providing his colleagues with his initial thoughts in outline.
 22 When doing so, he specifically indicated that they were “not intended to be a guide”
 23 but rather an overview of the potential arguments. (See Copeland Decl., ¶¶ 4-8.)
 24 Because Mr. Copeland was not tasked with primary responsibility for drafting the
 25 brief, he assumed that case authority would be cite-checked by those who were
 26 responsible for its drafting. Mr. Copeland acknowledges that, in hindsight, he should
 27 have alerted the primary draftsman of his initial use of AI to assure proper cite
 28 checking prior to submission.
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   1                                  Respectfully submitted,
   2
                                      ELLIS GEORGE LLP
   3                                     Eric M. George
                                         Trent Copeland
   4
   5
       Date: April 25, 2025           By: s/ Trent Copeland
   6
                                            Trent Copeland
   7
   8                                  Attorneys for Plaintiff Jacquelyn “Jackie”
                                      Lacey in all capacities
   9
 10
                                      Respectfully submitted,
 11
 12                                   K&L GATES LLP
                                         Ryan Q. Keech
 13
                                         Kevin S. Asfour
 14                                      Keian Vahedy
 15
 16 Date: April 25, 2025              By: s/ Kevin S. Asfour
                                            Kevin S. Asfour
 17
 18                                   Attorneys for Plaintiff Jacquelyn “Jackie”
                                      Lacey in all capacities
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